Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Pagad.gt.76, Pages

UNITED STATES DISTRICT COURT FOR THR ¢25 { 7 20/3
NORTHERN DISTRICT OF TEXAS —
DALLAS DIVISION

UNITED STATES OF AMERICA ex rel.

Stephanie M. Kruse;

STATE OF OKLAHOMA ex rel.
Stephanie M. Kruse;

STATE OF TEXAS ex rel.
Stephanie M. Kruse;

STATE OF NEW MEXICO ex rel.
Stephanie M. Kruse;

Doe States 1 — 45 and District of
Columbia ex rel.
Stephanie M. Kruse,

Plaintiffs,

Vv.

COMPUTER PROGRAMS AND

SYSTEMS, INC.; TRUBRIDGE LLC.;
MUSKOGEE REGIONAL MEDICAL

CENTER; CRESCENT MEDICAL
CENTER LANCASTER; and
ARTESIA GENERAL HOSPITAL

Defendants.

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CLERK, U.S. DISTRICT COURTC??
By ()

Deputy

CIVIL NO.: 3:CV18-938-K **SEALED**

RELATOR STEPHANIE M KRUSE’S
FIRST AMENDED COMPLAINT FILED
PURSUANT TO 31 U.S.C. §§ 3729 — 3732
FEDERAL FALSE CLAIMS ACT AND
STATES’ FALSE CLAIMS ACT AND
PENDENT CLAIMS

FILED UNDER SEAL

JURY TRIAL DEMANDED

FIRST AMENDED COMPLAINT

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page2of76 PagelD 196

Table of Contents

FIRST AMENDED COMPLAINT (UNDER SEAL) & JURY TRIAL DEMAND.........: sesso 4
T. SUMMARY OF ACTION .......ccccccscssescsseecetseeceecssesessesecssssessecsessenscsseasnecaeenssasereneeesseseeenans 5
TT. — PARTIES .o...cccccecceccssscscssesssceesescesceseeeceeesceseessesanecsessassesscsneaeenenseneesseasanenensenasnessessesasanegs 9

A. Relator Stephanie M. Kruse... ceeeeseseecsssssesscsceseceeeeseeareessneensssesaceacesasenssnsneesesseeeenes 9

B. Government Plaintiffs ............ccscsccsseseeeeseeccscesessscessescssssneneesseessenesseseseesseseaseasessoasens 10

C. Computer Programs and Systems, Inc. (“CPSI”).......:ccccccsseseseesesseseneeseerecsenessesesessseens 10

D. TruBridge LLC (“TruBridge”) .........:.:ececsscscsssesssesessesssssscssseesseeesesenreneseenenesscnensesesneacess 10
E. Saint Francis Hospital Muskogee formerly Muskogee Regional Medical Center

(“Muskogee Regional”)..........cccsccsccscesesssssesessssscssensesesscsecssenseaseessesseneesesseeaeesssavaseesseenes 11

F. Crescent Medical Center of Lancaster (“Crescent Medical”)..........:ccscsscseeeeeeeeeneneees 12

G. Artesia General Hospital (“Artesia Gerneral”)........cccssscsssssseseeseeeenesereesenereeseeeeseenecens 13

TI. JURISDICTION AND VENUE ........c.:cccscsssescssesscsscscesesscsseseeseseensesseasenenseseseesereeeasnnenes 14

IV. FEDERAL HEALTHCARE PROGRAMS .........scsssscesssssssseeseensensessesensesenssenenenersecaes 16

The Medicare and Medicaid Programs............:sssccscessesssscssesscseceesseseessnseeeeeenensereensrerenonsonses 16

TRICARE ......cccccessssesssscsessescecesesceseseeseseescsceseeseeessesassessonsssnsuseessseenennensaenesasanenenenscseaeasseneoees 19

V. REGULATORY FRAMEWORK.........::scsssscssssscsesssscsssssssseeseesacecsesessesenseaeserecssaesssavaces 20

A. The False Claims Act .........ccccccccssscesectceceeeceeessesseessnssassessesseneensesesseneesesecnesseeessessseaseessees 20

B. Medicare Program ..........:.cccsccssssssssceesesecscesssesesssssceseeseessesassnesensnesseseesenseascsnonsonesnssarenesegs 20

1. Medicare Inpatient Prospective Payment System ..........sccsessssrercersrereeseseneeeesteeses 22

2. Medicare Physician Payment System... csccssssssesenseeeseeeereenensenereessesensnteeseeenes 24

a. Credentialing of Physicians — License Requirement and Excluded Physicians ..... 24

b. Payment of Substitute Physicians (Locum Tenens) — 60-day Rule...........eseee 26

3. Outpatient Prospective Payment System ........ccsssssseseeeseeeeeeseeeserereessnsessnseseseenees 29

A. Same-Day Rule oo... cc cesssseccsceseesecestseseesesscecenscssssceaeeesassesesnsnesaeeesssenssessesseeseseenes 30

b. Bundling Requirements and Use of Modifier -59 .........ssscesssseeseseeseestscreseeeereeaeees 31

C. Use of Modifier XU... cccseseseccsssesecsessssscsecsesecsseeenseaesnensensenenersecssesassoneseeenensenes 32

VI. RELATIONSHIPS OF THE PARTIES qu... cececscsssesesssseseeneesesseeeseesenersecsenessscnseseseenes 32

VII. FACTUAL ALLEGATIONG........cccccscscssessessssessscesesesseseeesssensseeseseesesssenesnseseenseneneaees 38

A. CPSI and Muskogee Regional fraudulently submitted false physician information of
numerous claims and received payment on falsified claims from Medicare, Medicaid

and other Federal Healthcare programs in Muskogee, Oklahoma..............-::sesssseseseees 39
B. TruBridge and Crescent Medical fraudulently billing Medicare, Medicaid and other
Federal Healthcare Programs by?............:ssscssesssssesssesserscerensesseneeeaserersncnrscssnenssesseeneenees 42
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page3of76 PagelD 197

1) use of permanent staff (regular) physicians NPI and identity to bill services of
physicians who were not licensed to practice medicine and/or had been excluded from
participation in Federal Healthcare Programs; and.........cscccseseseesteseeeeseeeeeneteeneeeees 42

2) fraudulent billing of medical services of physicians who were not licensed to practice
medicine and/or had been excluded from participation in Federal Healthcare
Programs by using the identity and NPI of credentialed staff physicians (regular) and
who were not involved in the medical Services. ........ccccecsseesesseeteseeeeeeeseneeeeeteeeneeeees 42

C. TruBridge and Artesia General fraudulently submitted false physician claims and
received payment on falsified claims from Medicare, Medicaid and other Federal
Healthcare programs in New Mexico through a variety of fraudulent billing schemes. 46

VIT. CLAIMS FOR RELIEP........ ccc ccecesesseccecesceseeesssesesscssessesscsesecsecneeasesesessseaenseneenenessasaes 56
COUNT Lee eeccssscsceecssessssesesseeceseececeecsceeesenececsssssssescsesscsssecscseesestesseeseesesesseeeneneeateesenesesoney 56
False Claims Act — Presentation of False Claims .0.........cssesssessssesseseesesseeeeneeneeneeceneterenes 56
31 US.C. § 3729(a)(1), 31 U.S.C. § 3729(a)(1)(A) as amended in 2009........ cece 56
COUNT IL... ceccesesssssescsessseeescccecsensesccseeseeceseescenesacsasscecesesssessesesscneenseaserenesaenseaeseseasnerenegs 57
False Claims Act — Making or Using False Record or Statement to Cause Claim to Be
Paid oo. eeescccssscsseseesesseecesceseececcseescesseasecscsseseessesecsecscssensseuseessessessesenecsessenssaeseseasarensesesesetey 57
31 U.S.C. § 3729(a)(2), 31 U.S.C. § 3729(a)(1)(B) as amended in 2009 ........eeereeeseseees 57
COUNT IIL... cecccccssessesssecesesceeceesseeceseeacscesesscesseessevsssecnscseessensesesenseaseseneeseneseasasesseasassenses 57
False Claims Act — Making or Using False Record or Statement to Conceal, Avoid, and/or
Decrease Obligation to Repay Money ...........:.:sscsscssssscesssssensesscseseesssessssnesesarsasesenensneeoes 57
31 U.S.C. § 3729(a)(7), 31 U.S.C. § 3729(a)(1)(G) as amended in 2009 «0... .eeeeeeerereees 57
COUNT IV oo. eccccccsceesessesessssesseseseeaceeecsceecacsecacsecsssscacsssscsusecseseesenseaesaeessensseenesecneeseneneeeasess 58
False Claims Act - Conspiracy ..........:ssccsesecssessessessesscssscsesseseecsneeeeneenseeeeacesecssesesneenenseeas 58
31 U.S.C. § 3729(a)(3), 31 U.S.C. § 3729(a)(1)(C) as amended in 2009....... ce eeeecesesees 58
COUNT V..uocccccscssscescscescsssesessesceseeesessseesessceesesscosscsssesscssasseseessenssaeseeseseeenensenerscsessaseeasaneas 59
OKLAHOMA MEDICAID FALSE CLAIMS ACT... cccccscsssetesseesseeeeeesenenenesneeeeseneeoess 59
COUNT V1 uu... ccccesssssccssessessesesscccscesceeceesceseencscesassesscessssacsaseesecsesssaesessseneeesaneaseesssensoasaess 62
TEXAS FALSE CLAIMS ACT oc ceeseescesesscssssscscssceesseeseeaseaseesessensesesageasnesssessnessnonses 62
COUNT VIL... cceesssscesssssscessescssescesecssenssecseesceesecssesecsesesscssenscsnenseasseeseessseeensnecaeeacseessossnensesas 65
NEW MEXICO MEDICAID FALSE CLAIMS ACT .....ccecessceeseeseeseneeesenecnereresenseaeseees 65
COUNT VII... .ccccscsssscssescscssescescsseccsecseseeeeseeesecscescscesessssssssesssesassasseseacensnesaenenecaceneasseseoesaes 69
Unlawful Retaliation Under the False Claims Act 31 U.S.C. § 3730(f)......:sseeseerereeees 69
PRAYER FOR RELIEF ..........:cccsscsssssseseessecesecseessssceessssssesesressenscaesseneenessesageassesnenesegsseseasens 69
TIX. JURY TRIAL DEMAND 1... cece eceeesececssescsssseesssssnseesseneacssenessansnenacacieeneseneeansevesees 71
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page4of76 PagelD 198

AMENDED COMPLAINT (UNDER SEAL) and JURY TRIAL DEMAND

COMES NOW, Ms. Stephanie M. Kruse, for and on behalf of the United States of
America, the States of Oklahoma, Texas, and New Mexico, Doe States and District of Columbia
and complains against Defendants Computer Programs and Systems, Inc.; TruBridge, LLC; Saint
Francis Hospital Muskogee formerly Muskogee Regional Medical Center; Crescent Medical
Center Lancaster and Artesia General Hospital, (all five (5) entities collectively referred to as “the
Defendants”) and does file this Amended Complaint. As with the initial Complaint, this gui tam
action under the False Claims Act (“FCA”) is being filed ex parte and under seal as required by
the FCA, 31 U.S.C. § 3730(b)(2).

In support of this Amended Complaint, Relator, Stephanie M. Kruse on behalf of the United
States of America, the States of Oklahoma, Texas, and New Mexico (“Qui Tam States”), Doe States
and District of Columbia (“Doe States”) adopt and incorporate all Exhibits previously filed with
and in support of the initial Complaint. This Amended Complaint does add and amend the initial
Complaint as follows:

A) amending the timeframe Relator was assigned to Defendant Muskogee Regional
Medical Center from February, 2012 to June, 2013 to the timeframe of February, 2012 to June,
2012 when she was employed with CPSI; not TruBridge, LLC (not yet in existence), and correcting
associated allegations in {J 8, 25, 29, 127, and 135 of the initial Complaint and also deleting
TruBridge, LLC from §§ 25 and 29 and deleting Muskogee Regional from {23 and 24;

B) amending the timeframe Relator was assigned to Defendant Crescent Medical
Center of Lancaster from February, 2015 through January, 2016 to the timeframe of July, 2013
through January, 2015 and correcting associated allegations in ff 8, 30, 34, 105, 140, 143, 147, 150,

154, and 155 of the initial Complaint;

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page5of76 PagelD 199

C) amending the language in 4137 so that the last clause of the paragraph reads “. . .
and therefore, could not derive any income for work she did not do and had not done for two (2)
years as Dr. Hast had no affiliation with Muskogee Regional for that period of time”, adding the
bold-faced language;

D) substituting the words “Crescent Medical’s” for “Artesia’s” in Jf] 143 and 144 of the
initial Complaint;

E) substituting the words “made from” for “pursuant to” in the last portion of the last
sentence in { 145; and

F) substituting the word “Physician” for “Professional” in § 161 of the initial Complaint
so that the certification correctly reads: “Certified Physician Practice Management”; and

G) clarifying the language and allegations in § 164 of the initial Complaint,
so that the Complaint now, READS, STATES and ALLEGES as follows:

I. MARY OF ACTION

1. Qui tam relator Stephanie M. Kruse (“Relator”) brings this action in the name of
and on behalf of the United States of America ( “United States” or the “Government”), Qui Tam
States and Doe States, and herself and complains against Defendants Computer Programs and
Systems, Inc. (“CPSI”), TruBridge LLC (“TruBridge”), Saint Francis Hospital Muskogee formerly
Muskogee Regional Medical Center (“Muskogee Regional”) , Crescent Medical Center Lancaster
(“Crescent Medical”) and Artesia General Hospital (“Artesia General”), and for treble damages,
penalties, attorney fees and costs, pursuant to the qui tam provisions of the False Claims Act, as
amended, 31 U.S.C. §§3729-3733 (“FCA”) for false claims that were submitted or caused to be

submitted to the Government by Defendants.
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page6of76 PagelD 200

2. Relator also brings this action personally on her retaliation claim pursuant to the
whistleblower provisions of the False Claims Act, as amended, 31 U.S.C. §3730(h) as a result of
her wrongful termination and discharge by Defendant TruBridge on September 18, 2017.

3. This Complaint alleges that the Defendants engaged in a nationwide practice of
intentionally submitting fraudulent and false claims to and for payment from federally-funded
Medicare, TRICARE and other federally-funded health care programs (hereinafter collectively
referred to as the "Federal HealthCare Programs") and state-operated Medicaid programs of the
Qui Tam States for inpatient and outpatient hospital and physician services and receiving millions
of dollars in payment from the submission of fraudulent and false claims.

4, Defendants’ false and fraudulent practices included the following: (1) submitting
false information to circumvent automated claims “edits” designed by the United States
Department of Health and Human Services, through its agency, the Centers for Medicare and
Medicaid Services to prevent improper billing to Federal HealthCare Programs i.e. fraudulent
manipulation of claims using CPT codes and/or fraudulent use of modifiers; (2) fraudulent use of
permanent staff physicians National Provider Identifier (“NPI”) 10-digit identification number for
billing services of physicians whose services were not provided by the identified physician and was
replaced by a credentialed physician to obtain payment of claims that were or would be rejected by
Federal HealthCare Programs; (3) fraudulent use of permanent staff physicians National Provider
Identity (“NPI”) 10 digit identification number for billing services of locum tenens physicians who
services were not billed within the legal time period; (4) fraudulent use of “same day” modifiers for
billing duplicate charges that may or may not be of “medical necessity”; (5) fraudulently changing
the physical address and/or place of service of the healthcare provider to obtain payment of claims
that were or would be rejected by Federal HealthCare Programs; and (6) separately billing medical

procedures and tests that Federal HealthCare Programs required to be “bundled”.
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 7of76 PagelD 201

5. Defendants CPSI, TruBridge, Muskogee Regional, Crescent Medical and Artesia
General committed these acts notwithstanding Relator’s protestations that Defendants’ actions
would result and resulted in the submission of false or fraudulent claims to Federal HealthCare
Programs and primarily Medicare and State Medicaid programs and payment on false and
fraudulent claims.

6. This case is brought under the federal False Claims Act qui tam provisions, 31
U.S.C. § 3729 et seq., to recover treble damages and civil penalties on behalf of the United States
arising from false or fraudulent claims for reimbursement for medical treatment that were
submitted or caused to be submitted by Defendants to Federal HealthCare Programs and primarily
Medicare and State Medicaid programs in violation of the FCA. The FCA proscribes Defendants’
conduct involving fraudulent billing and, thus, the submission of false or non-reimbursable claims
to Federal HealthCare Programs, primarily Medicare and State Medicaid programs.

7. Relator has direct, independent and personal knowledge of Defendants’ illegal
billing practices and became aware of Defendants’ FCA violations and other illegal practices while
working for CPSI and then TruBridge in their respective Billing Departments as a Medical Biller,
a Medicare Biller, and in positions as Billing Supervisor/Facility Coordinator from August 2011
until her discharge in September 2017.

8. When assigned to Artesia General in February, 2017 and as a result of her
continued education and study in professional medical billing, medical coding and practice
management and compliance, Relator came to realize, appreciate and have grave concern
regarding earlier illegal and fraudulent billing practices of CPSI and TruBridge when Relator
worked in previous employment assignments as a Medicare Biller with Defendant Muskogee

Regional from February, 2012 to June, 2012 and as Medicare Biller and then Billing

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 8of76 PagelD 202

Supervisor/Facility Coordinator with Crescent Medical Center of Lancaster, Texas from July 2013
to January, 2015.

9. Defendants’ FCA violations and their various fraudulent billing schemes
unlawfully increased costs to the Government for medical services. Defendants knew, should have
known, or recklessly disregarded that their unlawful activities constituted filing false and fraudulent
claims for payment and/or reimbursement from the Government in violations of the FCA and of
Title XVIII of the Social Security Act, 42 U.S.C. §§ 1395d, 1395f, 1395k, 1395cc, 1395ww, and
Medicare regulations.

10. Defendants’ schemes were designed to illegally charge the Federal HealthCare
Programs, primarily Medicare and State Medicaid programs, for medical treatment that these
programs were not obligated to pay or reimburse and overcharged the programs for covered
treatment. Because of Defendants’ fraudulent conduct, the Government paid millions on claims that
it would have rejected, and the Government paid more than it would have; had it been aware of
Defendants’ illegal actions. Moreover, Defendants’ illegal practices resulted in increased
reimbursement costs to the Government, while Defendants profited beyond what is/was allowed
under the law.

11. Relator obtained personal knowledge from her employment with Defendants CPSI
and then TruBridge, a wholly-owned subsidiary LLC of CPSI formed in January, 2013, from July,
2011 until her termination on September 18, 2017; her insider experience in key billing positions
with Defendants CPSI, TruBridge, Muskogee Regional, Crescent Medical and Artesia General as
well as other medical sites/clients of CPSI and TruBridge not named in this Complaint; and due
to her extensive experience, education and training in medical billing, coding and practice

management and compliance.
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page9of76 PagelD 203

12. Dating back to at least February 2012 while assigned to Muskogee Regional,
Relator repeatedly elevated her concerns to CPSI and TruBridge management that Defendants
TruBridge and CPSI billing practices were fraudulent during her six (6) years of employment with
CPSI and TruBridge. Defendants disregarded Relator’s warnings, evidencing Defendants’ intent
to defraud and reckless disregard for the falsity of the claims they were submitting to Federal

HealthCare Programs, primarily Medicare and State Medicaid programs
Il. PARTIES

A. Relator Stephanie M. Kruse

13. Relator is a citizen of the United States and at all relevant times was a resident of
Mobile County in the State of Alabama and was employed with and by CPSI and then TruBridge
upon its formation in January 2013.

14. Throughout her six (6) year tenure of employment (August 2011 — September 18,
2017), Relator was employed in medical billing with both Defendant CPSI and TruBridge in each
entity’s Billing Department in numerous positions: first, as a Medical Biller, then as a Medicare
Biller, and subsequently as a Facility Coordinator (billing supervisor position), Facility
Coordinator/Billing Supervisor and finally, was promoted to Senior Billing Supervisor/Facility
Coordinator in September 2016.

15. Relator passed the certification exam and became a Certified Professional Biller
(“CPB”) in September 2016.

16. Before working for CPSI and TruBridge, Relator had worked for several entities
involved in medical billing and insurance claims processing which involved Medicare, Medicaid
and other federal healthcare programs, all involving medical billing, for a total of approximately

eight (8) years.

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 10o0f76 PagelD 204

17. From 2011 through her termination on September 18, 2017, Relator worked in the
Billing Departments of both Defendants CPSI and TruBridge.

B. Government Plaintiffs

18. The United States, Qui Tam States and Doe States are the government plaintiffs on
whose behalf Relator is initiating and advancing the claims in this action other than the retaliation
claim which is personal to her alone.

C. Computer Programs and Systems, Inc. (“CPSI”)

19. | CPSI is a Delaware corporation with its principal place of business in Mobile,
Alabama since 1979. It made its name as a leading provider of electronic health records (“EHR”)
systems for rural, community and critical access hospitals. At all times material hereto, CPSI
provided its over 650 clients located nationwide in 45 states and the District of Columbia not only
EHR systems but also business management services to meet the operational requirements of the
rural, community and critical access hospitals it served as clients or “sites”, including Defendants
Muskogee Regional, Crescent Medical and Artesia General.

20. Included in its business management services and prior to the formation of its
wholly-owned subsidiary LLC, TruBridge in 2013, CPSI provided the billing and debt collection
services and other revenue management and revenue cycle support for its clients/sites to collect
payment for healthcare services provided by these clients/sites.

21.  CPSI provided billing services to medical providers and hospitals, including but
not limited to, Defendant Muskogee Regional, until its formation of TruBridge in 2013.

D. TruBridge LLC (“TruBridge”)
22. Defendant TruBridge (also known as TruBridge Alabama, LLC) is a wholly-owned

LLC of CPSI formed in January 2013 with its principal place of business in Mobile, Alabama. It

10

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page11of76 PagelD 205

provides hospitals and other medical providers with billing and debt collection services and other
revenue management services.

23. At all times material, Defendant TruBridge provided billing and debt collection
services and other revenue collections and management services to health care providers,
Defendants Crescent Medical and Artesia General while Relator was employed with CPSI and/or
TruBridge.

24.  TruBridge provided billing services to medical providers and hospitals, including
but not limited to, Defendants Crescent Medical and Artesia as well as Texas hospitals: Texas
General Hospital of Grand Prairie, Texas; Reagan Memorial Hospital of Big Lake, Texas; and
Curahealth Boston in Garland, Texas, all located in the Northern District of Texas.

E. Saint Francis Hospital Muskogee formerly Muskogee Regional Medical Center
(“Muskogee Regional”)

25. Defendant Muskogee Regional is a hospital providing health care services at its
location in Muskogee, Oklahoma and was provided billing and debt collection services and other
revenue collections and management services by CPSI and TruBridge from at least February 2012
through June 2012.

26. In addition to its hospital in Muskogee, Muskogee Regional and its successor
entities provide outpatient services to individuals at a variety of facilities in Oklahoma and through
its numerous affiliate primary and specialty care physician practices solely owned by Muskogee
Regional and/or its parent healthcare system. Muskogee Regional and its wholly-owned physician
practices were and are a hospital as defined by the Social Security Act, as amended by the
Preservation of Access to Care for Medicare Beneficiaries and Pension Relief Act of 2010, 42

U.S.C. § 1395ww(d)(1)(B).

11
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page12o0f76 PagelD 206

27.  Asof2016, about 38 % of the annual gross revenue of $484,319,165, which equals
Total Hospital Patient Revenue of $188,569,540, is paid by Medicare for Medicare beneficiaries.

28. As of 2016, about 24 % of the annual gross revenue $484,319,165, which equals
Total Hospital Patient Revenue of $114,817,108, is paid by Oklahoma Medicaid Agency for
Medicaid beneficiaries.

29. From February 2012 through June 2012, Relator was assigned by CPSI to
Muskogee Regional as a Medicare Biller to provide Medicare billing and debt collection services
and other revenue collections and management services for and with Muskogee Regional before
she was assigned to other clients/sites of CPSI and TruBridge.

F. Crescent Medical Center of Lancaster (“Crescent Medical”)

30. Defendant Crescent Medical is an acute care general hospital providing health care
services at its location in Lancaster, Texas and was provided billing and debt collection services
and other revenue collections and management services by TruBridge from at least July 2013
through January 2015.

31. In addition to its hospital services, Crescent Medical provide outpatient services to
individuals at a variety of facilities in the Lancaster-Dallas area through its numerous affiliate
primary and specialty care physician practices solely owned by Crescent Medical. Crescent
Medical and its wholly-owned physician practices were and are a hospital as defined by the Social
Security Act, as amended by the Preservation of Access to Care for Medicare Beneficiaries and
Pension Relief Act of 2010, 42 U.S.C. § 1395ww(d)(1)(B).

32. Asof2016, about 1 1% or $8,908,162 of Crescent Medical’s reported Total Hospital

Patient Revenue (reported) of $82,706,434.00 is paid by Medicare for Medicare beneficiaries.

12
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page13o0f76 PagelD 207

33. As of 2016, about 13 % or $10,830,760 of Crescent Medical’s Total Hospital
Patient Revenue (reported) of $82,706,434.00 is paid by Texas Medicaid Agency for Texas
Medicaid beneficiaries.

34. From July 2013 through January 2015, Relator was assigned by TruBridge as
Facility Coordinator and Billing Supervisor with Crescent Medical before she was assigned to
other clients/sites of TruBridge.

G. Artesia General Hospital (“Artesia General’)

35. Defendant Artesia General is an acute care general hospital providing health care
services at its location in Artesia, New Mexico and was provided billing and debt collection
services and other revenue collections and management services by TruBridge from at least
February 2017 through May 2017.

36. In addition to its hospital services, Artesia General provide outpatient services to
individuals at a variety of facilities in the State of New Mexico through its sixteen (16) affiliated
primary and specialty care clinics and its physician practices solely owned by Artesia General.
Artesia General and its wholly-owned clinics and physician practices were and are a hospital as
defined by the Social Security Act, as amended by the Preservation of Access to Care for Medicare
Beneficiaries and Pension Relief Act of 2010, 42 U.S.C. § 1395ww(d)(1)(B).

37. About 22% or $37,598,625 of Artesia General’s reported Total Hospital Patient
Revenue (reported) of $174,022,653.00 is paid by Medicare for Medicare beneficiaries.

38. About 21% or $36,253,369 of Artesia General’s Total Hospital Patient Revenue
(reported) of $174,022,653.00 is paid by New Mexico Medicaid Agency for New Mexico

Medicaid beneficiaries.

13
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page14of76 PagelD 208

39. From February 2017 through May 2017, Relator was assigned by TruBridge as a
Senior Facility Coordinator and Billing with Artesia General and was Senior Billing Supervisor at
the time of her termination.

Il. JURISDICTION AND VENUE

40. The acts proscribed by 31 U.S.C. S 3729 et seq. and complained of herein occurred
in the Northern District of Texas and Defendants among others, do business in the Northern
District of Texas. Therefore, this Court has subject matter jurisdiction over this case and all
Defendants pursuant to 31 U.S.C. 3732(a), as well as under 28 U.S.C. § 1345.

41. This Court has personal jurisdiction over all Defendants because Defendant
Crescent Medical is located within the Northern District of Texas and acts as the provider of
healthcare services and products to Federal HealthCare Programs, primarily Medicare and State
Medicaid programs. beneficiaries within the Northern District of Texas. Defendants TruBridge
and CPSI provides hospitals and other medical providers including Defendant Crescent Medical
as well as other unnamed hospitals and medical providers located in the Northern District of Texas
with billing and debt collection services and other revenue management services and nationwide,
including the Northern District of Texas, submits claims and receipts payment from Federal
HealthCare Programs and accordingly is subject to the jurisdiction of this Court. All Defendants
regularly perform services and submits claims for payment to Federal HealthCare Programs and
accordingly are subject to the jurisdiction of this Court.

42. Venue is proper within the Northern District of Texas pursuant to 28 U.S.C. §§
1391 (a) (1) and (2), because Defendant Crescent Medical as well as other medical facility clients
of Defendants CPSI and TruBridge not named in this Complaint which are located within the

Northern District of Texas, as Defendants CPSI, TruBridge and Crescent Medical have performed

14
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page15of76 PagelD 209

numerous acts proscribed by 42 U.S.C. § 1395nn, 42 U.S.C. § 1320a-7b (b) and 31 U.S.C. §3729,
et seq, within the Norther District of Texas.

43. As of the date of this Complaint, Defendant TruBridge and Defendant CPSI, had
696 active customers/sites nationwide. Of these active sites, 50 medical providers, primarily
community and/or rural hospitals, are located and operate in the State of Texas, making the State
of Texas (along with the State of Minnesota, which also has 50 active sites), the state where
Defendant TruBridge does business with the most number of customers/sites.

44. In accordance with 31 U.S.C. § 3730(b)(2), the original Complaint in this action
was filed under seal; and will remain under seal for as long as the Court authorizes, or such other
date as is required by law, and shall not be served upon Defendants until the Court so orders.

45. On December 15, 2017 and prior to the filing of this Complaint, Relator through
her counsel provided a lengthy memorandum to Mr. J. Scott Hogan, the Civil Division Chief
Assistant U.S. Attorney, and Ms. Lindsey E. Boran, Assistant U.S. Attorney, both of the U.S.
Attorney’s Office of the Northern District of Texas, disclosing the factual basis of Relators’ claims
including the fraudulent conduct to be alleged against Defendants and the identity of parties that
are the basis and subject of this Complaint.

46. Further, Relator through her counsel indicated her willingness to meet with the
Government attorneys to elaborate on the details provided in her confidential memorandum.
However, Relator’s offer to meet and discuss were declined. Accordingly, Relator voluntarily and
affirmatively disclosed the information on which the allegations in this Complaint are filed to the
Government, including prior to filing her original Complaint. See 31 U.S.C. § 3730(€)(4)(B).

47. This suit is not based upon prior public disclosure of substantially the same

allegations or transactions in a criminal, civil, or administrative hearing, lawsuit, or investigation,

15
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page16o0f76 PagelD 210

in a Government Accountability Office or Auditor General’s report, hearing, audit, or
investigation, from the news media, or in any other location as the term “publicly disclosed” is
defined in 31 U.S.C. § 3730(e)(4)(A), amended by the Patient Protection and Affordable Care Act,
Pub. L. No. 111-148, § 1313G)(2), 124 Stat. 901-902 (2010).

48. To the extent, if any, that there has been a public disclosure of the information upon
which the allegations of this Complaint are based that is unknown to Relator, she is an original
source of this information as defined in 31 U.S.C. § 3730(e)(4)(B), amended by the Patient
Protection and Affordable Care Act, Pub. L. No. 111-148, § 1313()(2), 124 Stat. 901- 902 (2010).

49. Relator possesses direct and independent knowledge of the information because of
her extensive independent investigation into Defendants’ wrongdoing, which was conducted while
she was employed with both CPSI and TruBridge and assigned to Muskogee Regional, Crescent
Lancaster and Artesia General, and based on the fraudulent billing practices she observed at the
eleven (11) or more other medical sites which she was assigned to and worked with over her six
(6) years employed with CPSI and then TruBridge. Further, Relator obtained information through
her extensive communications and interactions with CPSI and TruBridge management and
supervisory managers and co-employees in the Billing Departments of CPSI and TruBridge.
Finally, Relator derived further independent knowledge base on her continued investigation
after she left active duties with TruBridge in May 2017 and while on leave before she was
terminated in September 2017.

IV. FEDERAL HEALTHCARE PROGRAMS
The Medicare and Medicaid Programs
50. Title XVIII of the Social Security Act, 42 U.S.C. §§ 1395, et seq., established the

Health Insurance for the Aged and Disabled, popularly known as the Medicare program. The

16

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page17of76 PagelD 211

United States Department of Health and Human Services ("HHS"), through its agency, the Centers
for Medicare and Medicaid Services ("CMS") administers the Medicare and Medicaid programs.
CMS is authorized to enter into and administer contracts with insurance companies or Medicare
contractors on behalf of HHS. Inclusive in CMS's contracting authority is the responsibility for
entering into contracts with health care providers and suppliers.

51. CMS enters into contracts and pays for health care services provided to Medicare
beneficiaries through insurance companies acting as Medicare ("fiscal intermediaries") contractors
with the responsibility to process and pay health care claims under Medicare Part A which covers
hospital and post-hospitalization services. 42 U.S.C. §§ 1395c-1395i-2 (1992). Medicare Part B is
a federally subsidized, voluntary insurance program that covers a percentage (usually 80 percent)
of the fee schedule amount for physician and laboratory services 42 U.S.C. §§ 1395k, 13951,
1395x(s), outpatient services and all other services not covered by Medicare Part A. Medicare Part
B contractors ("carriers") process and pay claims for these services.

52. Defendants submitted or caused to be submitted fraudulent claims to the United
States through several Medicare Part B contractors in and around the Northern District of Texas.

53. Medicaid is a federally assisted grant program for the states enabling them to
provide medical assistance and related services to needy individuals. CMS administers Medicaid
on the federal level. Within broad federal rules, each state decides who is eligible for Medicaid,
the services covered, payment levels of services, and administrative and operational procedures.
The state directly pays the providers for Medicaid services, with the state obtaining the federal
reimbursement share of the payment from accounts drawn on funds from the United States
Treasury. 42 C.F.R. §§ 430.0-430.30 (1994). The State of Texas, through the Texas Medicaid and

Health Partnership (“Texas Medicaid”), State of Oklahoma, through SoonerCare (“Oklahoma

17
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page18o0f76 PagelD 212

Medicaid”) and the State of New Mexico, through Centennial Care (“New Mexico Medicaid”), all
participate in the Medicaid program.

54. Physicians, hospitals and other medical providers make express and/or implied
certifications in their state Medicaid provider enrollment forms that they will comply with all
federal and state laws applicable to Medicaid. The following are representative samples of the
types of certifications health care providers make when entering Medicaid Provider Agreements
with the State Medicaid programs. While state Medicaid enrollment agreements are continually
revised and updated, the certifications within these agreements, as described below, generally
survive in similar form from revision to revision.

55. In the State of Texas, Medicaid Provider Enrollment Application providers certify
that “concealment of a material fact, or pertinent omissions may constitute fraud and may be
prosecuted under applicable federal and state law.” Texas Medicaid Provider Enrollment
Application, at p. 6.5 (available at the Texas Medicaid website and incorporated herein). Providers
further certify that “any falsification, omission, or misrepresentation in connection with...claims
filed may result in all paid services declared as an overpayment and subject to recoupment.” Id.
Providers also certify that they will comply with the requirements of the enrollment agreement,
including “federal laws and regulations relating to fraud, abuse and waste in health care and the
Medicaid program.” Id. at p. 6.2, 6.5. The Texas Medicaid enrollment agreement requires
signatories to notify the State of Texas if they fall out of compliance with any of their obligations.
Id.

56. | When a provider signs the New Mexico “Medical Assistance Division Provider
Participation Agreement, the provider “AGREES TO ABIDE BY AND BE HELD TO ALL

FEDERAL, STATE, AND LOCAL LAWS, RULES AND REGULATIONS, INCLUDING, BUT

18
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page19o0f76 PagelD 213

NOT LIMITED TO THOSE PERTAINING TO MEDICAID AND THOSE STATED HEREIN.”
State of New Mexico Human Services Department Medical Assistance Division Provider
Participation Agreement, at 6 (available at the New Mexico Medicaid website and incorporated
herein). Furthermore, the New Mexico regulations state that “A provider who furnishes services
to a Medicaid eligible recipient agrees to comply with all federal and state laws, regulations, and
executive orders relevant to the provision of services.” N.M. Code R. § 8.302.1.11 (2011).

57. Defendants submitted or caused to be submitted claims and received false and/or
fraudulent funds from the United States through Medicare, Tricare and other Federal HealthCare
programs and from the United States through Medicaid programs of the Qui Tam States and Doe
States with Defendants CPSI, TruBridge, Qui Tam States and Doe States submitting fraudulent
claims with Defendants CPSI, TruBridge and Crescent Medical being submitted from within the
Northern District of Texas.

TRICARE

58. | TRICARE Management Activity, formerly known as CHAMPUS, (“TRICARE”)
is a program of the Department of Defense that helps pay for covered civilian health care obtained
by military beneficiaries, including retirees, their dependents, and dependents of active-duty
personnel. 10 U.S.C. §§ 1079, 1086; 32 C.F.R. Part 199. TRICARE contracts with fiscal
intermediaries and managed care contractors to review and pay claims, including claims submitted
by Defendants.

59. Defendants submitted or caused to be submitted claims and received false and/or
fraudulent funds from the United States through Medicare and from Medicaid Programs of the Qui
Tam States and Doe States with Defendants CPSI, TruBridge, and Crescent Medical submitting

fraudulent claims from the Northern District of Texas.

19
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 20o0f76 PagelD 214

V. LAT E

A. The False Claims Act

60. Originally enacted in 1863, the False Claims Act (“FCA”) was substantially
amended in 1986. The 1986 Amendments enhanced the Government’s ability to recover losses
sustained as a result of fraud against the United States. The Act was amended in 2009 and 2010,
further strengthening the law.

61. The FCA provides that any person who knowingly presents or causes another to
present a false or fraudulent claim to the Government for payment or approval is liable for a civil
penalty of up to $11,000 for each such claim until November 2, 2015 and thereafter, for false or
fraudulent claims to the Government for payment or approval, a civil penalty of up to $21,563 for
each such claim, plus three times the amount of the damages sustained by the Government. 31
USS.C. § 3729(a)(1).

62. Under the FCA, any person having information regarding a false or fraudulent
claim may bring an action on behalf of the government and is entitled to share in any recovery. 31
U.S.C. §3730(b)(1), (d). The complaint must be filed under seal without service on any defendant.
31 U.S.C. §3730(b)(2). The complaint remains under seal while the Government investigates of
the allegations in the complaint and determines whether to join the action. 31 U.S.C. §3730(a),
(b)(4).

B. Medicare Program

63. | The Government, through its Medicare program, is one of the principal payers for
medical services rendered by Muskogee Regional, Crescent Medical and Artesia General.

63. Medicare is a Government program primarily benefiting the elderly that was

created by Congress in 1965 when it adopted Title XVIII of the Social Security Act. Medicare is

20
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 21o0f76 PagelD 215

administered by the Centers for Medicare and Medicaid Services (“CMS”), a federal agency which
sets standards and regulations for participation in the program. Medicare Part A primarily covers
medical care for patients admitted to the hospital, while Medicare Part B primarily covers doctor
visits and medical care provided on an outpatient basis.

64. The Medicare program works by reimbursing health care providers for the cost of
services and ancillary items at fixed rates. Reimbursements are paid out of the Medicare Trust
Fund. The Medicare Trust Fund is supposed to reimburse only for those services that were actually
performed, were medically necessary for the health of the patient, and were ordered specifically
by a physician, using appropriate medical judgment and acting in the best interest of the patient.
The Medicare Trust Fund relies on the implied representations of suppliers of Medicare services,
reimbursable in whole or in part under Medicare, that the services billed by the providers are
medically necessary for the patient, are performed as billed, and are compensable by Medicare.

65. | Medicare and other Federal HealthCare programs require that the service be
physically performed and billed accurately according to CMS policies and procedure codes. CMS
requires health care providers to certify that they complied with all laws and regulations governing
the provision of health care services. These certifications are an absolute condition precedent to
retaining the Medicare funds conditionally advanced by the Government and a prerequisite to
continued future participation in the Medicare program. Without such certification, Defendants are
required to repay all Medicare payments previously received.

66. | Whena healthcare provider submits a claim for services performed for a Medicare
and/or Medicaid patient, it is submitting a bill for payment to the Government and certifying

he/she/it has earned the payment requested and complied with the billing requirements. If the

21
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 22 of 76 PagelD 216

individual or entity knew or should have known the submitted claim was false, then the attempt to
collect payment constitutes a violation of the FCA. Examples of improper claims include:

¢ Billing for services that you did not actually render;

¢ Billing for services that were not medically necessary;

* Billing for services performed by an improperly supervised or unqualified employee;

* Billing for services performed by an employee excluded from participation in Federal
health care programs;

¢ Billing for services of such low quality that they are virtually worthless; and/or

* Billing separately for services already included or should be included in a “bundled fee”

67. Under 42 U.S.C. § 1320a-7k(d), providers are required to report any overpayments
to Medicare within 60 days of the identification of the overpayment or the date that any
corresponding cost report is due, whichever is later. Any overpayment retained by a provider after
the deadline of reporting and returning the overpayment is an “obligation” for purposes of the

reverse false claims provision of the FCA. 42 U.S.C. § 1320a-7k(d)(3); 31 U.S.C. § 3729(b)(3).

1. Medicare Inpatient Prospective Payment System

68. The payment rate under the Inpatient Prospective Payment System is determined
by the patient’s principal diagnosis upon discharge and any secondary diagnoses, comorbidities,
complications, procedures performed during the hospital stay, and discharge status. Based on
these factors, a patient is assigned to a diagnosis-related group (“DRG”). Each discharge is
assigned only one DRG, regardless of the number of conditions treated or services furnished during
the patient’s stay. 42 C.F.R. § 412.60. The payment for each DRG is based on the expenses
associated with the patient’s condition and treatment, and the hospital’s capital and operating costs.

69. | Medicare pays for acute inpatient care in hospitals through the Inpatient Prospective

Payment System (“IPPS”). Hospitals receive a predetermined rate for each discharge or each case,

22

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 23 o0f76 PagelD 217

instead of billing Medicare for individual services that are provided during the patient’s hospital
stay. 42 C.F.R. § 412.2.

70. The Inpatient Prospective Payment System rate for an acute inpatient hospital stay
includes all outpatient diagnostic services and admission-related non-diagnostic services provided
by the admitting hospital or an entity wholly owned or operated by the admitting hospital. For
example, the care for a Medicare patient who presents with shortness of breath, visits a physician
in a practice owned by the hospital, has a chest x-ray, and then is admitted to the hospital for
pneumonia, would be reimbursed by the Inpatient Prospective Payment System under a single
DRG. These services cannot be unbundled and submitted separately for payment, whether as
outpatient services or otherwise.

71. DRG payments may change based upon the type of care facility from which a
patient is discharged. For example, a hospital is paid the full Inpatient Prospective Payment
System rate if a patient is discharged from the hospital to his or her home (which includes return
to a skilled nursing facility if that is where the patient resided before the hospital stay), or if the
patient dies at the hospital. 42 C.F.R. § 412.4(a)(1), (2). Hospitals are paid a graduated per diem
rate for each day of the patient’s stay if the patient is transferred to another facility from the
hospital, rather than formally discharged from the hospital. A transfer occurs if a patient leaves the
hospital and is readmitted to another acute care facility or critical access hospital on the same day
or is released to a skilled nursing facility as a new admittance to that facility. 42 C.F.R. § 412.4(f).

72. Hospitals are required to comply with CMS regulations to receive payment and to
provide accurate records and reports to CMS as a condition of payment. 42 C.F.R. § 412.40-
412.52. If a hospital fails to comply fully with the conditions, CMS may withhold payment until

the hospital provides proof of compliance. If the hospital does not adequately correct the

23

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 24o0f76 PagelD 218

underlying cause of non-compliance, CMS may terminate the hospital’s provider agreement. 42

CER. § 412.40.

2. Medicare Physician Payment System

a. Credentialing of Physicians — License Requirement and Excluded
Physicians

73. The National Provider Identifier (“NPI”) is a Health Insurance Portability and
Accountability Act (“HIPAA”) Administrative Simplification Standard. The NPI is a unique
identification number for covered health care providers. Each covered health care provider must
have his/her/its own NPI to bill Medicare, Medicaid and other Federal Healthcare Programs for
health care services he/she/it has provided.

74. Covered health care providers and all health plans and health care clearinghouses
must use the NPIs in the administrative and financial transactions adopted under HIPAA. The NPI
is a 10-position, intelligence-free numeric identifier (10-digit number). This means that the
numbers do not carry other information about healthcare providers, such as the state in which they
live or their medical specialty. The NPI must be used in lieu of legacy provider identifiers in the
HIPAA standards transactions.

75. In addition to having his/her own NPI, CMS requires that an individual healthcare
provider’s (physician’s) credentials be examined as follows:

a) request for clinical privileges;

b) evidence of current licensure;

c) evidence of training and professional education;

d) documented experience; and

e) supporting references of competence.
§482.22(a)(2), Hospital IG - Medical Staff

24
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 25of76 PagelD 219

76. Further, CMS requires that Outpatient services must be ordered by a practitioner
who meets the following conditions:
a) is responsible for the care of the patient;
b) is licensed in the State where he or she provides care to the patient;
Cc) is acting within his or her scope of practice under State law; and

d) is authorized in accordance with policies adopted by the medical staff, and
approved by the governing body, to order the applicable outpatient services.

This applies to the following:

(i) All practitioners who are appointed to the hospital’s medical staff and who have
been granted privileges to order the applicable outpatient services.;

(ii) All practitioners not appointed to the medical staff, but who satisfy the above
criteria for authorization by the hospital for ordering the applicable outpatient
services for their patients.

§ 482.54 (c), Condition of Participation: Outpatient Services, CMS

77. Under section 1128(b)(7) of the Social Security Act (“the Act”), the Office of
Inspector General (“OIG”) of the U.S. Department of Health and Human Services may exclude
any individual or entity (collectively, “person”) from participation in the Federal HealthCare
Programs for engaging in conduct prohibited by sections 1128A or 1128B of the Act.

78. | The Exclusion Statute requires OIG to impose exclusions from participation in all
Federal Healthcare programs on health care providers and suppliers who have been convicted of

any of the following:

© Medicare fraud, as well as any other offenses related to the delivery of items or
services under Medicare;

e Patient abuse or neglect;

e Felony convictions for other health care-related fraud, theft, or other financial
misconduct;

25
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 26 of 76 PagelD 220

e Felony convictions for unlawful manufacture, distribution, prescription, or
dispensing of controlled substances

79. OIG also has discretion to impose permissive exclusions on other grounds,
including:
e Misdemeanor convictions related to health care fraud other than Medicare or
Medicaid fraud or misdemeanor convictions in connection with the unlawful
manufacture, distribution, prescription, or dispensing of controlled substances;
e Suspension, revocation, or surrender of a license to provide health care for
reasons bearing on professional competence, professional performance, or
financial integrity;
@ Provision of unnecessary or substandard services;
e Submission of false or fraudulent claims to a Federal health care program
e Engaging in unlawful kickback arrangements;
e Defaulting on health education loan or scholarship obligations
80. Importantly, excluded physicians may not bill directly for treating Medicare and
Medicaid patients, nor may their services be billed indirectly through an employer or a group
practice. 42 U.S.C. §1320a-7
b. Payment of Substitute Physicians (Locum Tenens) — 60-day Rule
81. Sections 30.2.10 and 30.2.11 of the CMS Internet-only Manual in Publication 100-
04, Chapter 1, General Billing Requirements, state that a patient’s regular physician may bill for
services furnished by a substitute physician, either on a reciprocal or locum tenens basis, when the
regular physician is unavailable to provide the services. Both the law at section 1842(b)(6)(D)(iii)
of the Act and the manual instructions cited above state that the services of the substitute physician
are not to be provided over a continuous period of longer than 60 days.

82. Substitute physicians are generally called “locum tenens” physicians. It is a

longstanding and widespread practice for hospitals and physician groups to retain substitute

26
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 27 of76 PagelD 221

physicians to take over for regularly employed physicians when the regular physicians are absent
for reasons such as illness, pregnancy, vacation, or continuing medical education, and for the
regular physician to bill and receive payment for the substitute physician’s services as though
he/she performed them. The substitute physician generally has no practice of his/her own and
moves from area to area as needed. The regular physician, his group or his employer generally
pays the substitute physician a fixed amount per diem, with the substitute physician having the
status of an independent contractor rather than of an employee. Subsection A, 30.2.11, Transmittal
1486, Pub 100-04, Medicare Claims Processing, CMS Manual System, April 4, 2008.

83. For payment of physician services under the locum tenens arrangements, a regular
physician may submit the claim, and (if assignment is accepted) receive the Part B [Medicare]
payment, for covered visit services (including emergency visits and related services) of a locum
tenens physician who is not an employee of the regular physician and whose services for patients
of the regular physician are not restricted to the regular physician’s offices, if:

* The regular physician is unavailable to provide the visit services;

* The Medicare beneficiary has arranged or seeks to receive the visit services
from the regular physician;

* The regular physician pays the locum tenens for his/her services on a per diem
or similar fee-for-time basis;

* The substitute physician does not provide the visit services to Medicare patients
over a continuous period of longer than 60 days subject to the exception noted
below; and

* The regular physician identifies the services as substitute physician services
meeting the requirements of this section by entering HCPCS code modifier Q6
(service furnished by a locum tenens physician) (emphasis added) after the
procedure code.

Subsection B, 30.2.11, Transmittal 1486, Pub 100-04, Medicare Claims
Processing, CMS Manual System, April 4, 2008.

27
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 28 o0f76 PagelD 222

84. For a medical group to submit assigned and unassigned claims for the services a
locum tenens physician provides for patients of the regular physician who is a member of the group
[or employed by the hospital], the requirements of subsection B [paragraph 83 above] must be met.
For purposes of these requirements, per diem or similar fee-for-time compensation which the
group pays the locum tenens physician is considered paid by the regular physician. Also, a
physician who has left the group and for whom the group has engaged a locum tenens physician
as a temporary replacement may bill for the temporary physician for up to 60 days. (emphasis
added) The group must enter in item 24d of Form CMS-1500 the HCPCS modifier Q6 after the
procedure code. Until further notice, the group must keep on file a record of each service provided
by the substitute physician, associated with the substitute physician’s UPIN or NPI when required,
and make this record available to the carrier upon request., Medicare Claims Processing Manual,
CMS Pub. No. 100-4, Subsection C, 30.2.11, Transmittal 1486, April 4, 2008

85. The use of modifier Q6 by the regular physician (or medical group/hospital, where
applicable) certifies that the covered visit services furnished by the substitute physician are
identified in the record of the regular physician which is available for inspection and are services
that the regular physician (or group) is entitled to submit.

86. If services are provided by a substitute physician over a continuous period of longer
than 60-day period, the regular physician must bill first 60 days with modifier Q6. However, after
the 60-day period:

e Substitute physician must bill for remainder of services in his/her own name
under his/her own NPI;

¢ Regular physician may not bill and receive direct payment for services over
the 60-day period (emphasis added); and

e A new 60-day period of covered visits can begin after regular physician has
returned to work

28
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 29 of 76 PagelD 223

3. Outpatient Prospective Payment System

87. Medicare pays for outpatient care for beneficiaries through its Outpatient
Prospective Payment System (“OPPS”). Under the OPPS, Medicare pays predetermined amounts
for designated services. 42 C.F.R. § 419.2. The OPPS applies to most outpatient services provided
at most hospitals, with exceptions that do not apply to Mercy Hospital or Mercy Medical
Associates. 42 C.F.R. §§ 419.20-22.

88. | Medicare classifies outpatient services into ambulatory payment classifications
(“APCs” or “APC”). Ambulatory payment classifications group procedures together that are
clinically similar and use a similar amount of resources so that comparable procedures receive
comparable reimbursement rates. 42 C.F.R. § 419.31; Medicare Claims Processing Manual, CMS
Pub. No. 100-4, Ch. 4, §10.2.

89. APC payments include overhead and supplies, which cannot be billed separately
under the Outpatient Prospective Payment System. These items are an integral part of another
service that is paid under the Outpatient Prospective Payment System and the cost has been
factored in to the reimbursement rate for that service. Medicare Claims Processing Manual, CMS
Pub. No. 100-4, Ch. 4, §10.4.

90. Items and services that must be included as packaged cost items and not billed
separately from services include (but are not limited to): use of operating room, procedure or
treatment room, recovery room, and observation services; medical supplies including surgical
supplies and equipment, certain pharmaceuticals, surgical dressings, substitute skin products and
other products that aid wound healing; supplies and equipment related to anesthesia or sedation;
certain clinical diagnostic tests; and durable medical equipment that is implantable. 42 C.F.R §

419.2(b).

29
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 300f 76 PagelD 224

a. Same-Day Rule

91. When multiple procedures with multiple ambulatory payment classifications are
performed on the same day, Medicare regulations require that payment to the hospital be reduced.
42 C.F.R. § 419.44. When multiple claims for certain outpatient services occur on the same day,
Medicare regulations require that these claims be packaged together to avoid overpayment for the
fixed costs that are incorporated into the payment for that APC. Medicare Claims Processing
Manual, CMS Pub. No. 100-4, Ch. 4, §§ 10.4, 10.4.1. Accordingly, hospitals are required to report
all OPPS services that are provided on the same day on the same claim. Medicare Claims
Processing Manual, CMS Pub. No. 100-4, Ch. 4, § 170.

92. Under certain circumstances, a provider may need to indicate that a procedure or
service was separate or distinct from other services performed on the same day which it normally
is bundled with. Medicare Claims Processing Manual, CMS Pub. No. 100-4, Ch. 23 § 20.9.1.1(B).
Modifier -59 is appended to a bundled CPT code to identify procedures or services that are for
distinct, unrelated medical conditions. Medicare Claims Processing Manual, CMS Pub. No. 100-
4, Ch. 4, § 180.4. For example, hospitals may report the GO code if a beneficiary goes to the
emergency room in the morning for a broken arm, and again to the emergency room in the evening
of the same day for chest pain. Id.

93. Claims that are reported with condition code GO indicate that the outpatient visit is
eligible to be paid separately from an outpatient visit from the same day at the same revenue center,
because the medical conditions are unrelated. The G0 code bypasses Medicare’s audit system and
certifies that the billed services are unrelated, separate services eligible to be paid separately and

not as part of a packaged payment.

30
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 31of76 PagelD 225

b. Bundling Requirements and Use of Modifier -59

94. Medicare requires that certain services, when performed together on the same
individual, be bundled into one comprehensive charge rather than separately paid. Medicare
Claims Processing Manual, CMS Pub. No. 100-4, Ch. 23, § 20.9.2. The payment for the bundled
code includes payment for the individual services included within the CPT code. Id.

95.  Medicare’s claims processing system includes a set of “code pairs” that generally
should not be billed together by a provider for a beneficiary on the same date of service. Medicare
Claims Processing Manual, CMS Pub. No. 100-4, Ch. 23, § 20.9. These “code pairs” are designed
to prevent payment for a secondary normally bundled but are correctly being billed as separate
services under the circumstances. Id.

96. Modifier -59 may be appended to a lesser-included procedure or service if the
service represented a different patient encounter or session, different procedure or surgery,
different site or organ system, separate incision/excision, separate lesion, or a separate injury not
ordinarily encountered or performed on the same day by the same physician. Medicare Claims
Processing Manual, CMS Pub. No. 100-4, Ch. 23 § 20.9.1.1(B). For instance, Modifier -59 can be
used to indicate that two or more procedures were performed at the same visit but to different sites
on the relevant patient’s body.

97. Clinical documentation must support the use of the Modifier -59 and this modifier
should never be used strictly to prevent a service from being bundled or to deceive the Medicare
claims processing system. Medicare Claims Processing Manual, CMS Pub. No. 100-4, Ch. 12 §
30(M). It is a violation of Medicare’s billing rules to utilize Modifier -59 for a lesser-included

claim when the service was not separate and unique from the bundled claim.

31
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 32 of 76 PagelD 226

98. Improper use of Modifier -59 to bypass Medicare edits without documented support
is a significant area of fraud and abuse in the Medicare program. See CMS Transmittal 1422:
Specific Modifiers for Distinct Procedural Services, CMS Pub. 100-20, (Aug. 15, 2014); See
Department of Health and Human Services, Office of the Inspector General, “Use of Modifier -59

to Bypass Medicare’s National Correct Coding Initiatives,” (OEI-03-02-00771, November 2005).

c. Use of Modifier XU

99. Effective January 1, 2015, Modifiers XE, XS, XP and XU were implemented by
CMS to provide greater reporting in situations where modifier 59 was previously reported and to
be used in lieu of modifier 59 whenever possible. According to CMS, modifier 59 should only be
utilized if no other more specific modifier is appropriate

100. The Modifier XU is to be used with “Unusual Non-Overlapping Services” for
diagnostic or therapeutic procedures occurring at the same or near in time but involves a service
that is distinct because it does not overlap usual components of the main service. CMS, National

Correct Coding Initiative Policy Manual for Medicare Services

VI. RELATIONSHIPS OF THE PARTIES

101. Throughout Relator’s tenure of employment, Defendants CPSI and then TruBridge
entered into contractual arrangements with Defendants Muskogee Regional, Crescent Medical,
and Artesia General (sometimes referred to collectively as “Hospitals”) to provide the hospitals
and their affiliated clinics and physician practices with billing and debt collection services and
other revenue management services.

102. Pursuant to the contracts between CPSI and/or TruBridge and the Hospitals, CPSI
and/or TruBridge received as compensation a percentage (3% to 4%) of the Hospitals gross

collections. Thus, the more the Hospitals collected, the more money CPSI and TruBridge earned.

32
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 33 of 76 PagelD 227

103. In February 2012, Muskogee Regional had contracted with CPSI to perform the
billing services for the hospital and its wholly-owned and wholly-operated physician practices.

104. Defendant CPSI provided billing services to Muskogee Regional until the
formation of TruBridge in January 2013, which then began to provide billing and collection
services to Muskogee Regional. CPSI and TruBridge owned its own proprietary software that
integrated with the Hospitals patient and billing records and together submitted patient billings to
Medicare, Tricare, Medicaid and other Federal HealthCare Programs as well as Commercial
Payors.

105. In July 2013, Crescent Medical had contracted with TruBridge to perform the
billing services for the hospital and its wholly-owned and wholly-operated physician practices.

106. Relator was assigned to Crescent Medical from July 2013 through January 2015
and TruBridge provided billing services to Crescent Medical pursuant to the contractual
arrangement between the two (2) entities.

107. In February 2015, Artesia had contracted with TruBridge to perform the billing
services for the hospital and its wholly-owned and wholly-operated physician practices.

108. Relator was assigned to Artesia from February 2017 through May 2017.

109. The Billing Departments of CPSI and then TruBridge were tasked with the
responsibility and duty of providing the billing and collections services for the Hospitals pursuant
to the contracts with each respective client/site.

110. Defendant CPSI and TruBridge through frequent site visits and remote computer
access to the Hospitals, integrated its billing operations into the Hospitals patient accounts
department’s own operations. Defendant CPSI and TruBridge worked in an integrated manner

with the Hospitals and their employees to perform billing services for the Hospitals. The

33
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 34o0f76 PagelD 228

integration of the Hospitals billing and patient accounts with the Billing Departments of CPSI
was accomplished by utilizing CPSI’s proprietary software called “Big Brother” and then upon
the formation of TruBridge, by using primarily proprietary software of Evident, LLC, called
“Thrive” as well as other outside software already utilized by the Hospitals. Evident, LLC was
also a solely owned LLC formed and owned by CPSI.

111. Relator was assigned to a Billing Team within CPSI and/or TruBridge Billing
Department. Relator’s Billing Team designation would correspond with the site/client that Relator
would be assigned by TruBridge. Once assigned to a site, Relator would then become an integrated
member of the Billing Department of the Hospital(s)s, using remote computer access into the
Hospitals billing system from CPSI and/or TruBridge offices and thusly, “reported to work” at
those sites to perform her duties.

112. With exception but a few, TruBridge Billing Department employees “worked at
sites” nationwide by logging into the site’s computer system via remote access from CPSI or
TruBridge offices in south Alabama, offices in close by vicinity to the headquarter offices of CPSI
and TruBridge in Mobile, Alabama

113. A Billing Team was comprised of a Medical Biller, a Medicare Biller, CRS (Claims
Resolution Specialist), Receipting, a Billing Supervisor/Facility Coordinator and a Senior Billing
Supervisor/Facility Coordinator, all of whom worked under the supervision of the Manager
assigned to that Client/Site.

114. Billing Team employees of CPSI and TruBridge, including Relator were paid on
an hourly basis for his/her respective work with the Hospitals with most Billing team employees

having little more than a high school education.

34

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 35of76 PagelD 229

115. Managers of the CPSI and TruBridge Billing Teams, including Stephanie
Bassenger (“Bassenger”) over Muskogee Regional, primarily Patrick O’Rourke (“O’Rourke”)
over Crescent Medicall and Miller Callaway (“Callaway”) over Artesia General were college
graduates, paid on a salary basis and significantly, received “bonus” compensation based on
collection efforts of the Billing Teams for each of the Hospitals, which he/she supervised. Thus,
the more the Hospitals collected, the more money Bassenger, O’Rourke, and Callaway and other
Billing Team Managers earned.

116. Upon being assigned to a site by CPSI and TruBridge, Relator and other Billing
Team members would be provided an instructional manual developed by CPSI and/or TruBridge
for each individual site that provided instructions on billing and obtaining payment and to provide
instructions on obtaining payment should a billing issue cause rejection or difficulty in obtaining
payment or to work the pre-submission of the claim for payment.

117. This instruction manual was/is referred to as a “Site Book”. Each site/medical
facility has its own Site Book. Site Books would often have instructions to the Billing Team
members regarding the approval of the blanket use of modifiers for obtaining payment from
Medicare, Medicaid, and other Federal Healthcare Programs when the claim was being rejected
for payment.

118. Without coding review, without addressing “medical necessity” and/or without any
consideration the medical records regarding treatment of the patient which resulted in the hospital
or physician charges, the Site Book would instruct the Billing Department members of CPSI and

TruBridge, including Relator, how to collect payment for a medical service billed to Federal

1 At Crescent Medical, Relator worked primarily under O'Rourke and under Managers Penecerio, Leslie Giles and
Jay Cotney. O’Rourke now is an Assistant Director with TruBridge, an upper management position.

35
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 36 of 76 PagelD 230

Healthcare Programs (and Commercial payors) when the claim was initially rejected by CMS
(Medicare and other Federal Healthcare Programs) and/or State Medicaid programs or had been
rejected in other instances. In short, the Site Book instructed the Billing Department how to fix a
claim which would not reimburse.

119. Additionally, should the Site Book for the Hospitals not provide directives on
payment of a rejected claim, TruBridge through its Billing Teams Managers or other Management
would conduct weekly Phone Conferences which included Chief Financial Officers of the
Hospitals, which resulted in additional directives, agreed upon by both TruBridge and the
Hospitals, to the Billing Team, including Relator, that would result in manual manipulation of the
rejected claims and result in payment by Medicare and other Federal Healthcare Programs and/or
State Medicaid programs upon resubmission.

120. These weekly Conference Calls between TruBridge and the Hospitals were logged
electronically into TruBridge’ s computer database in folders identified as “(Site Name)
Conference Call Log.xls”, with Site/Client having its own individual folder which documented the
“approvals” between TruBridge and the Site/Customer of modifiers and directives agreed to
and/or discussed in the Conference Calls and/or email communications, that would be authorized
for use to obtain payment of rejected hospital and physician charges. These “approvals” were to
be included in the Site Book but may or may not be included but would remain in the Site
Conference Call Log folder for Billing Department reference.

121. Relator has personal knowledge of the use of Site Books and weekly Conference
Calls and how Defendants CPSI and TruBridge used these tools to fraudulently bill Federal
Healthcare programs and State Medicaid programs nationwide in concert with its Clients including

Muskogee Regional, Crescent Medical and Artesia General.

36
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 37 of76 PagelD 231

122. Beginning at least from February 2012, Defendants CPSI and TruBridge in concert
with Defendants Muskogee Regional, Crescent Medical and Artesia General engaged in a scheme
to unlawfully obtain Medicare payment for high-dollar claims — which Medicare had not paid
based upon its internal controls on prohibited charges — by submitting or resubmitting these claims
with false information designed to circumvent Medicare’s internal controls.

123. Defendants implemented various fraudulent methods of modifying unpaid
Medicare claims to circumvent the edit in Medicare’s claims processing system that prevented the
claims from being paid.

124. By altering and/or modifying the claims without a documented clinical basis which
Medicare otherwise would not have paid, or for which Medicare would have paid a lesser amount,
Defendants knowingly submitted, and caused to be submitted, false claims to the Medicare
program, Medicaid, Tricare and other Federal HealthCare programs and knowingly made, used,
or caused to be made or used, false records or statements material to false or fraudulent claims in
violation of 31 U.S.C. §§ 3729(a)(1)(A) and (a)(1)(B). Defendants conspired to commit these
fraudulent actions in violation of 31 U.S.C. § 3729(a)(1)(C).

125. Because of these fraudulent practices, Defendants received overpayments from
Medicare. Defendants did not report and return the overpayments to Medicare within the time
periods specified in 42 U.S.C. § 1320a-7k(d)(2). Instead, Defendants knowingly made, used, or
caused to be made or used false statements or records material to their obligation to pay these funds
to the Medicare program, and knowingly concealed and knowingly and improperly avoided or
decreased an obligation to pay or transmit these improperly received overpayments to the

Government in violation of 31 U.S.C. § 3729(a)(1)(G).

37
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 38 of 76 PagelD 232

Vir. FACTUAL ALLEGATIONS

126. Relator witnessed and was an unwitting participant in what she learned to be

fraudulent billing schemes whereby Defendants CPSI and TruBridge in concert with Defendants

Muskogee Regional, Crescent Medical and Artesia General engaged in false and fraudulent

medical billing practices as follows:

a.

CPSI and Muskogee Regional:

(2) fraudulent use of National Provider Identifier (“NPI”) 10-digit identification
numbers of permanent staff physicians and/or permanent staff physicians no longer
on staff to bill for services of physicians who provided the services to obtain
payment of claims that were or would be rejected by Federal HealthCare Programs
including Medicaid;

(3) fraudulent use NPI numbers of permanent staff (regular) physicians for billing
services of locum tenens physicians who services were not billed within the 60-day
period; and

(4) submission of false information to circumvent automated claims “edits” designed
by CMS to prevent improper billing to Federal HealthCare Programs i.e. fraudulent

manipulation of claims using CPT codes and/or fraudulent use of modifiers.

TruBridge and Crescent Medical

(1) use of permanent staff (regular) physicians NPI and identity to bill services of
physicians who were not licensed to practice medicine and/or had been excluded
from participation in Federal Healthcare Programs including Medicaid; and

(2) fraudulent billing of medical services of physicians who were not licensed to
practice medicine and/or had been excluded from participation in Federal Healthcare
Programs by using the identity and NPI of credentialed staff physicians (regular)
and who were not involved in providing the medical services.

TruBridge and Artesia General

(1) fraudulent use of the NPI of a permanent staff (regular) physicians or a credentialed
physician no longer of staff to bill for services of physicians whose services were
not provided by the identified physician that were or would be rejected by Federal
HealthCare Programs;

(2) fraudulent use of permanent staff physicians NPI for billing services of locum tenens
physicians who services were not billed within the 60-day period;

38
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 39 of 76 PagelD 233

(3) fraudulent changing of physical address and/or place of service to obtain payment
of claims that were or would be rejected by Federal HealthCare Programs;

(4) submission of false information to circumvent automated claims “edits” designed
by HHS/CMS to prevent improper billing to Federal HealthCare Programs i.e.
fraudulent manipulation of claims using CPT codes and/or fraudulent use of
modifiers;

(5) fraudulent use of “same day” modifiers for billing duplicate charges that may or may
not be of medical necessity; and

(6) fraudulent “unbundling” of claims billing separately medical procedures and tests to
Federal HealthCare Programs which were required to be “bundled” by HHS/CMS.

A. CPSI and Muskogee Regional fraudulently submitted false physician information of
numerous claims and received payment on falsified from Medicare, Medicaid and
other Federal Healthcare programs in Muskogee, Oklahoma.

127. From February 2012 through June 2012 while employed with CPSI, Relator was
employed in medical billing with both Defendants CPSI Billing Department and was assigned to
work as a Medicare Biller with Muskogee Regional. While at Muskogee Regional, Relator was
assigned to CPSI Team D under the supervision of CPSI Manager, Bassenger.

128. When Relator began working at Muskogee Regional in February 2012, CPSI
proprietary billing software, “Big Brother”, was already integrated into Muskogee Regional’s
patient accounts billing department and CPSI managers had been incorporated into Muskogee
Regional’s management structure.

129. CPSI employed an “infused management” structure whereby it inserted CPSI
Managers to oversee and manage Muskogee Regional’s day-to-day billing and collections
operations through CPSI’s Billing Department, which included collaboration and working with

Hospital billing personnel. CPSI also implemented the use of several proprietary tools to increase

Muskogee Regional’s collections, including its proprietary software, “Big Brother”.

39
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 40of 76 PagelD 234

130. Big Brother was proprietary software was integrated with a hospital’s billing
system to track the status and expected reimbursement of unpaid claims, and to prioritize claims
for follow-up by hospital billing staff.

131. In a February 2012 email, Relator became aware that a former physician at
Muskogee Regional, Dr. Laurie Hast (““Dr. Hast”), who had not worked at the Hospital for two (2)
years, was being billed to Medicare, Medicaid, and all Commercial payors in place of physicians
whose submitted services had been rejected for payment.

132. CPSI Facility Coordinator, Darlene Brannon (“Brannon”) brought the falsified
billing of the physician services under Dr. Hast ’s name to Relator’s attention and showed Relator
an email sent from the Muskogee Regional Business Office Manager to Muskogee’ CFO which
was copied to Brannon.

133. Independently, Brannon went directly to CPSI Manager Bassenger and CPSI Vice
President and Chief Financial Officer Gregory Leatherbury (“Leatherbury”) and confirmed that
thousands of physician services charges at Muskogee Regional were falsely submitted and paid
fraudulently using the name and NPI of Dr. Hast.

134. Despite both CPSI and Muskogee having knowledge of the fraudulent payment of
claims submitted using Dr. Hast ’s NPI and identity, CPSI and Muskogee Regional continued to
bill Dr. Hast on the directives of Muskogee Regional’s CFO and CPSI’s Leatherbury.

135. Ataminimum, from February 2012 through June, 2012 while Relator was assigned
to Muskogee Regional, thousands of physician services claims submitted by Muskogee Regional
and CPSI involved physicians who were not credentialed, resulted in rejection/denial and were
then re-submitted using the name, NPI and identity of Dr. Hast, who had been gone from

Muskogee Hospital for more than two (2) years and billing her/him as a “supervising physician”.

40

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 41o0f76 PagelD 235

136. CPSI Management, including Leatherbury and Brannon2, instructed Relator and
other CPSI Billing Department employees, namely Gina Westmoreland (“Westmoreland”) -
Medical Billers; Christine Aaron, Bernice Kittler, Margaret Rose, Tabitha Henderson to use the
name, NPI and identity of Dr. Hast to obtain payment from Medicare, Medicaid and Commercial
payors on the rejected physician claims and that this procedure of processing payment would be
listed on the Approval List in the Site Book for Muskogee Regional and which would “cover our
culpability”.

137. While Relator was assigned to Muskogee Regional, Dr. Hast contacted CPSI and
spoke to Relator. Dr. Hast expressed to Relator on the phone her concern over her taxes as she was
and had not worked at Muskogee Regional for more than two years, and that she could not be a
“supervising physician” as she is a radiologist (no supervisory duties) and therefore, could not
derive any income for work she did not do and had not done for two (2) years as Dr. Hast had no
affiliation with Muskogee Regional for that period of time.

138. Relator brought the information provided in her phone call with Dr. Hast to her new
supervisor, Westmoreland, who had taken the place of Brannon.3 Westmoreland along with
Relator again brought Dr. Hast fraudulent billing matter to the attention of Leatherbury. This time,
Leatherbury agreed that no further billings would be submitted using Dr. Hast’s identity and NPI
but no corrective action for previously submitted claims was implemented nor was reporting of

the fraudulent payments made to CMS or Commercial payors.

2 Brannon voiced her objections to her supervisor, Manager Bassenger, but both were instructed by Leatherbury to
continue with the manual manipulation of Dr. Hast’s NPI as CPSI had approval from Muskogee Regional.

3 Brannon resigned over this incident involving the fraudulent billing of physician services using Dr. Hast’s identity
and NPI.

41

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 42 of 76 PagelD 236

139. Neither Muskogee Regional or CPSI reported any overpayments to Medicare
within 60 days of the identification of the overpayment or the date that any corresponding cost
report was due.

B. TruBridge and Crescent Medical fraudulently billing Medicare, Medicaid and other
Federal Healthcare Programs by:

1) use of permanent staff (regular) physicians NPI and identity to bill services of
physicians who were not licensed to practice medicine and/or had been excluded
from participation in Federal Healthcare Programs; and

2) fraudulent billing of medical services of physicians who were not licensed to
practice medicine and/or had been excluded from participation in Federal
Healthcare Programs by using the identity and NPI of credentialed staff
physicians (regular) and who were not involved in the medical services.

140. From July 2013 through January 2015 while employed with TruBridge, Relator
was employed in medical billing with TruBridge in the Billing Department and was assigned to
work as a Medicare Biller, Facility Coordinator/Billing Supervisor with Crescent Medical of
Lancaster, working remotely via computer access into the Crescent Medical computer system from
TruBridge’s office in Mobile, Alabama.

141. In 2014, CPSI rebranded the Big Brother software into a new proprietary software
called “Thrive”, which became the software “owned” by a newly formed LLC called Evident,
LLC. (“Evident”). Evident was formed and wholly-owned by CPSI. The Thrive proprietary
software became the primary billing and revenue cycle software which TruBridge used and
integrated into hospitals’ patient and billing accounts.‘

142. In addition to Crescent Medical, TruBridge has implemented Thrive at numerous

other hospitals and healthcare systems nationwide, including Artesia General

“In addition to Thrive, CPSI has since acquired other subsidiary corporations and LLCs which have similar billing and
revenue cycle management proprietary software for use and implementation by TruBridge. One proprietary software
obtained through CPSI’s acquisition is “Rycan”, developed by Rycan Technologies. Other similar proprietary
software was obtained when CPSI acquired Healthland, Inc., and American Health Tech, Inc.

42

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 43 of 76 PagelD 237

143. When Relator began working at Crescent Medical in July 2013, TruBridge’s billing
and revenue cycle software, Thrive, had already been integrated into the Hospital’s patient
accounts and TruBridge’s Billing department and TruBridge’s Managers had been infused into
Crescent Medical’s management structure.

144. From its opening, Crescent Medical and TruBridge had contracted with each other
for TruBridge to provide revenue management services and billing support with use of
TruBridge’s Thrive proprietary software for billing hospital and physician services including the
billing of Crescent Medical’s physician practices outside of the hospital.

145. As CPSI employed an infused management structure with Muskogee Regional and
all CPSI sites, TruBridge also employed a similar “infused management” structure with Crescent
Medical and all TruBridge sites; whereby TruBridge oversaw and managed Crescent Medical’s
day-to-day billing and collections operations through TruBridge’s Billing Department and its
managers, which included collaboration and working with Hospital billing personnel. In doing
so, TruBridge would use the Thrive proprietary tools to increase Crescent Medical’s collections
of payments made from Medicare, Medicaid and other Federal Healthcare Programs as well as
Commercial Payors.

146. While assigned to Crescent Medical, Relator was supervised by multiple TruBridge
Managers but primarily under O’Rourke. She was assigned to several different Billing Teams,
with each TruBridge Manager being charged with a Billing Team that had an average of four to
six facilities under his/her supervision.

147. Crescent Medical was a newly opened hospital which opened for business in

Lancaster, Texas in 2013 owned and operated primarily by Dr. Kahlid Mahmood, who was the

43
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 44o0f76 PagelD 238

brother of Dr. Tariq Mahmood. Crescent Medical became approved by CMS for Medicare
payments in 2015 and shortly thereafter was also approved for Texas Medicaid payments.

148. It was common knowledge at Crescent Medical, and known to Relator and
TruBridge Management, that Dr. Tariq Mahmood (“Tariq”) was being investigated for healthcare
fraud for his conduct in operating several hospitals in the State of Texas, including Cozby
Germany Hospital in Grand Saline, Renaissance Terrell Hospital in Terrell, Central Texas
Hospital in Cameron, Community General Hospital in Dilley, and Lake Whitney Medical Center
in Whitney. Tariq was found guilty of healthcare fraud and identity theft violations due to his
criminal conduct in the operation of his hospitals and sentenced to prison in April 2015 in the
Federal Court of the Eastern District of Texas.

149. Relator was directly involved in the process of obtaining Medicare approval for
Crescent Medical through her employment with TruBridge.

150. While working at Crescent Medical, Relator witnessed and questioned many
practices, including the billing of sixteen (16) physicians who did not have a state medical licenses
in the State of Texas. Of the approximately 40 hired physicians, Relator recalls 16 of them had
state license issues and discovered the “red flags” associated with these physicians, some of whom
were listed/included on the Medicare/CMS statutory exclusion list for 2013-2015.

151. Upon information and belief, Relator recollects that these physicians were under
investigation in relation to the criminal prosecution of Tariq Mahmood and were previously
employed with or at hospitals which were owned and operated by Tariq that resulted in his
convictions for healthcare related fraud.

152. Upon learning of the “red flags” of the approximate 16 physicians that were

interfering with the ability of TruBridge and Crescent Medical to bill for their medical services,

44
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 45of76 PagelD 239

Relator immediately notified her immediate TruBridge Manager, Patrick O'Rourke
(“O’ Rourke”). O’Rourke directed Relator to “bill these claims anyway and get it done, as we
[TruBridge] had received authorization and approval from the owner Dr. Khalid Mahmood to do
so.”

153. Based on O’Rourke’s directive, TruBridge and Crescent Medical billed unlicensed
and excluded physicians, including the sixteen (16) Relator questioned, to Medicare, Texas
Medicaid TMHP, and Medicaid HMO's as well as Commercial Payers from the time the facility
first opened for business once it received Medicare/Medicaid certification. Relator was advised
by Crescent Medical’s Business Office Manager (Stacey LNU) of her apprehension of billing and
collecting payments associated with those physicians as she discussed these licensing and
credentialing issues with Relator. Stacey left her position as the Business Office Manager and the
facility not long after the opening of the hospital due to Crescent Medical being under government
investigation due to assets belonging to Tariq’s hospitals being moved into Crescent Medical.

154. Crescent Medical was a contractual client of TruBridge from the Summer, 2013
until January 2015 when they left TruBridge.

155. Ataminimum, from July 2013 through January 2015 while Relator was assigned
to Crescent Medical, thousands of physician services claims submitted by Crescent Medical and
TruBridge involved physicians who were not credentialed, resulted in rejection/denial and were
then re-submitted using the name (a) use of permanent staff (regular) physicians NPI for billing
services of physicians who were not licensed to practice medicine and/or had been excluded from
participation in Federal Healthcare Programs; and (b) fraudulent billing of medical services of

physicians who were not licensed to practice medicine and/or had been excluded from

45
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 46 of 76 PagelD 240

participation in Federal Healthcare Programs by using the identity and NPI of credentialed staff
physicians (regular) but not involved in the medical services.

C. TruBridge and Artesia General fraudulently submitted false physician claims and
received payment on falsified claims from Medicare, Medicaid and other Federal
Healthcare programs in New Mexico through a variety of fraudulent billing schemes.
156. From February 2017 through May 2017 Relator was employed in medical billing

with TruBridge in the Billing Department, assigned to Billing Team F under the supervision of
TruBridge Manager, Callaway. She worked as a Facility Coordinator and Billing Supervisor
assigned to Artesia General in Artesia, New Mexico working remotely via computer access into
the Artesia computer system from TruBridge’s office in Mobile, Alabama.

157. When Relator began working at Artesia General in February 2017, TruBridge’s
billing and revenue cycle software, Thrive, had already been integrated into the Hospital’s patient
accounts and TruBridge’s Billing department and TruBridge’s Managers had been infused into
Artesia’s management structure.

158. Since at least 2015, Artesia General and TruBridge had contracted with each other
for TruBridge to provide revenue management services and billing support with use of
TruBridge’s Thrive proprietary software for billing hospital and physician services including the
billing of Artesia General’s physician practices outside of the hospital.

159. As with Muskogee, Crescent Medical and all TruBridge sites, TruBridge employed
an “infused management” structure; whereby TruBridge oversaw and managed Artesia’s day-to-
day billing and collections operations through TruBridge’ s Billing Department and its managers,

which included collaboration and working with Hospital billing personnel. In doing so, TruBridge

would use the Evident LLC Thrive proprietary tools to increase Artesia General’s collections of

46

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 47 of76 PagelD 241

payments pursuant to Medicare, Medicaid and other Federal Healthcare Programs as well as
Commercial Payors.

160. On February 8, 2017, Relator was re-assigned to Artesia General as its Facility
Coordinator/Billing Supervisor by TruBridge her then direct Manager, Mark Peneceiro
(“Peneceiro”), who supervised her in her as Facility Coordinator/Billing Supervisor of the
Cumberland County Hospital in Burkesville, Kentucky, and Danielle Patrick (“D Patrick”), who
was an upper management Assistant Director of Business Services with TruBridge and had
previously been a TruBridge manager of Relator. At Artesia, her direct TruBridge Manager
became Miller Callaway (“Callaway”).

161. At the time of her assignment with Artesia General, Relator has been employed in
Billing with CPSI then TruBridge for nearly six (6) years, was certified as CPB and was active in
receiving Continuing Education Units (“CEUs”) for her continued CPB certification and further
medical billing education to obtain her Certified Physician Practice Management certification
through AAPC to become a Medical Office Business Manager. In both regards, Relator was
actively engaged in studying The Centers for Medicare and Medicaid Services (“CMS”)’s
program regarding Medicare payment adjustments and rules for the Merit-Based Incentive
Payment System (“MIPS”) and CMS’s new payment and reimbursement framework under
Medicare Access and CHIP Reauthorization Act (““MACRA’) and importantly, included CMS
rules and regulations in medical coding and appropriate usage of CCI edit modifiers.

162. Even before her first official day, Relator was included on an email from Callaway
on February 7, 2017, authorizing Billing Department employees of Artesia General and
TruBridge to use Modifier -25 for payment of physician charges [1500 Claims] on “both ER

levels and clinic evaluation and management codes” that had been denied/rejected due to CMS’

47

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 48 of 76 PagelD 242

“same date of service” prohibitions. Callaway instructed in his email that “Clinic CPT’s 99201-
99205 and 99211-99215 need a 25 modifier if they are billed on the same date of service with
CPT’s 10040-69990, 70010-79999 or 90281-99140. (See Exhibit “A” attached).

163. During her first two (2) months, Relator recognized numerous instances where
Miller in agreement with Artesia General through Shannon Clark (“Clark”), Chief Revenue Cycle
Officer; Cyndi Buck (“Buck”), Compliance Officer of Health Information Management (“HIM”)
Department, and Dawn McGuire (“McGuire”), Business Office Manager, would give blanket
authorization for the use of modifiers to the Artesia General and TruBridge Billing Departments
without coding review, without addressing “medical necessity” and without any consideration
the medical records regarding the patient treatment.

164. As early as February 21, 2017, Valerie Cole (“Cole”), an Artesia General HIM
Coding Specialist, advised via email to Miller of TruBridge and Clark, Buck and McGuire of
Artesia General of the misuse of Modifier -57, a modifier to be used for Evaluation and
Management (“E & M7”) level charges but being used for charges not associated with E&M
services, and also the misuse of -91 modifier. (See Exhibit “B”, p. 7 attached) In pointing out the
misuse of these modifiers (-57 and -91), Cole warned: “I cannot stress the need to have whoever
is appending modifiers, know what they are doing. If the departments [Artesia and TruBridge
Billing] are taking it upon themselves to put modifiers thinking it will ‘allow’ certain charges to
go through, that’s very non-compliant.” (See Exhibit “B”, p. 7 attached)

165. Asof March 1, 2017, Relator was aware of the Modifier -57 “error” and instructed
her Billing Team on the accurate use of modifiers to correctly submit claims for

reimbursement/payment. (See Exhibit “B”, p. 1)

48
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 49 of 76 PagelD 243

166. On March 7, 2017, Callaway instructed Artesia General and TruBridge Billing
Departments, including Relator, via email that the approval had been authorized by Artesia
General and TruBridge to allow the billing and/or re-billing of duplicate EKGs performed on the
same day by the same provider by adding Modifier -76 to EKG’s with CPT 93000, 93005 and
93010 which had been flagged with “edit 3491” (See Exhibit “C”).

167. Artesia General and TruBridge approved this use of Modifier -76 for the billing
and/or re-billing of duplicate EKGs with CPT 93000, 93005 and 93010 performed on the same
day by the same provider without coding review, without addressing “medical necessity” and
without any consideration the medical records regarding the patient treatment.

168. The fraudulent submission of claims pursuant to the March 7, 2017 directives of
Artesia General and TruBridge Management which authorized the use of Modifier -76 for
payment on “same day-same provider” duplicate EKGs with CPT 93000, 93005 and 93010
resulted in the payment of hundreds of thousands of dollars by Medicare, Medicaid, Tricare and
other Federal HealthCare Programs to Artesia General from March 7, 2017 to present, to which
Artesia General was not legally entitled to receive.

169. On March 8, 2017, a similar issue of duplicate same day-same provider for
duplicate lab tests (urinalysis) with CPT 81001 arose. The submission of these claims by Artesia
General and TruBridge resulted in the claims being “flagged” or rejected for payment pursuant
to CMS Rules and Regulations.

170. Without any coding review, without addressing “medical necessity” and without
any consideration the medical records regarding the patient treatment, TruBridge through

Callaway and Artesia through Clark, Buck and McGuire approved the use of Modifier XU for the

49
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 50of76 PagelD 244
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billing and/or re-billing of “same day-same provider” duplicate lab tests (urinalysis) with CPT
81001
171. If legally submitted or re-submitted for payment consideration, these “same day-
same provider” duplicate lab tests (urinalysis) with CPT 81001 should have been re-submitted to
the Coding Department for review. If each test was eligible for payment, the two (2) tests should
have been “bundled” for payment; rather than submitted separately for payment.
172. On March 10, 2017, at 9:23 a.m., Relator was advised and instructed via email from
Callaway that “we are approved for’ a “combination” for billing each of the two (2) lab tests
(urinalysis) with CPT 81001 separately rather than bundled, as follows:
100064665 ~=81001 XU GO478
100063962 ~=81001 XU 80306
(See Exhibit “D”).
173. On March 10, 2017, at 9:41 am., Callaway instructed Artesia General and
TruBridge Billing Departments, including Relator, via email of a “new approval” that “mainly
affects Medicare and the few Commercial/Medicaid payors that are flagged by CCI edits”. The
new approval authorized Artesia General and TruBridge Billing Departments the use of XU
Modifier to allow the billing and/or re-billing of duplicate “same day-same provide” lab tests
(urinalysis) with CPT 81001 which was “. . . being flagged for a CCI edit because it [CPT 81001
claim] is present with CPT G0478 or 80305-80307” (See Exhibit “E”).
174. After receiving the March 10, 2017 emails from Callaway, Relator became
concemed of the blanket use of modifiers as directed by Callaway and Artesia. Due to her
concerns regarding the CCI edits practice of Callaway and TruBridge, Relator questioned the

TruBridge Edits Team by contacting Kwanza Wright, Manager of the Edits Team (“Wright”),

50
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 51of76 PagelD 245

Angel Wiggins, Assistant Manager of the Edit Team (“Wiggins”) and Support Representative,
Matthew Rosser (“Rosser”). In contacting the Edits Team members, Relator confirmed her
understanding that CMS updated the CCI Edits Tables every 90 days which precluded the blanket
usage of a modifier on an indefinite basis, when Relator and the Edits Team contacted Sean
Kennedy, the Manager of TruBridge CCI edits (“Kennedy”).

175. Regardless of CMS 90-day Edits Table, TruBridge’s Edits Team advised Relator

that she was to follow the directives of Callaway, her Manager, for Artesia General and that all

other TruBridge Billing Department employees were also to follow the directives of their

Managers in the blanket use of modifiers without any time restriction, despite CMS Tables to the
contrary.

176. Given her instruction from the Edits Team and Callaway, Relator went into the
Artesia General Patient Accounts and added the XU Modifier to all charges associated with CPT
81001, which “mainly affects Medicare and the few Commercial/Medicaid payors”, without any
coding review, without addressing “medical necessity” and without any considering the medical
records regarding the patient treatment and, thusly, “unbundled” the duplicate “same day-same
provider” lab tests (urinalysis) and submitted them as two (2) separate claims for which payment
was received by Artesia General and on behalf of its affiliated physician groups.

177. In doing so, Relator along with TruBridge and Artesia fraudulently submitted
hundreds of claims associated with CPT 81001 using the XU Modifier alone and thus,
“unbundled” duplicate “same day-same provider” lab tests (urinalysis) and submitted them as two
(2) separate procedures which resulted in the payment of thousands of dollars by Medicare,
Medicaid, Tricare and other Federal HealthCare Programs to Artesia General from March 10,

2017 to present, to which Artesia General was not legally entitled to receive.

51
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 52 o0f76 PagelD 246

178. After March 10, 2017, the XU Modifier was added to the TruBridge Conference
Call Logs folder maintained for Artesia General and identified as “Artesia Conference Call
Log.xls” and the Artesia General Site Book Approval List thereby instructing TruBridge and
Artesia General Billing Departments of approval of the use of XU Modifier for claims associated
with CPT 81001 and the “unbundling” of tests associated with CPT 81001 claims.

179. On March 10, 2017, Relator reviewed and identified incorrect and incomplete 72-
hour processing of Medicare, Commercial, and Medicaid, and requested from TruBridge
management for additional assistance from Artesia General COO (Clark) via conference call
Relator placed on March 14, 2017. Relator located $2.3 M claims submitted improperly in
Medicare claims incorrectly worked by reviewing them under CO/193 rejection code for claims
from May 2016 to February 2017, which resulted in implementing new processes with Artesia
General and TruBridge Billing Departments staff on March 16, 29017.

180. Her concerns heightened in May 2017 as her CEU and certification studies of MIPS
and MACRA study material intensified and she began a retrospective review of some billing
practices that she then became very concerned about her personal liability by unwittingly
participating in fraudulent practices in the submission of claims both while assigned to Artesia
General but also at Muskogee Region, Crescent Medical and other CPSI and TruBridge sites she
had been assigned during her six (6) years of employment.

181. Specifically, Relator recalled her involvement at the instruction of Callaway in
billing of physician services which were not paid because of some issue on credentialing (one of
whom was a Dr. Vigil) whose services were subsequently submitted and paid using the NPI and

identity of a permanent staff physician named Dr. Jorge Abalos.

52
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 53 o0f 76 PagelD 247

182. On May 11, 2017, Relator discovered that beginning in mid- March, 2017, that Edit
10227 was flagging/rejecting physician claims from Artesia General from payment on 25
physicians, including Dr. Vigil, who were affiliated or one-time affiliated with Artesia General,
because the submissions were submitted outside of the 60 day period for locum tenen physicians
or due to other credentialing issues, primarily these physicians were “not linked” with Artesia
General as their NPI taxonomy, facility address, facility NPI and Tax ID were not paired with
Payors, including Medicare, Medicaid and other Federal HealthCare Programs as weil as
Commercial Payors, all of which resulted in hundreds of thousands of 1500 Claims being rejected
for payment.

183. Because of the flagging of these 25 physicians due to Edit 10227, Callaway directed
Relator and the TruBridge Billing Department to bill these charges using the NPI and identity of
Dr. Abalos and add the Q6 Modifier in order obtain payment on these claims. (Exhibit “F’’)

184. On May 11, 2017, Relator confirmed the Q6 improper billing of Artesia General
and TruBridge when she again considered email directives from Callaway dated April 27, 2017
regarding billing 300 claims of Dr. David Tempkin changing of the physical address and using
the NPI of the hospital and removing the clinic code 02 from the Claims, which were paid. Dr.
Tempkin was not linked to his physician billing group. (Exhibit “G”) As an example, Relator
obtained a Computer Screen Shot of the Artesia General Patient Account of Patient No. 10044088
as of May 12, 2017 regarding the Form 1500 Claims Submissions of Dr. Tempkin and the change
in the clinic code to hospital code to fraudulently obtain payment from Medicare on this falsified

claim as done in other instances. (Exhibit “H” 5 )

‘The names and other Protected Health Information (as defined in HIPPA) of all patients, including Medicare,
Medicaid and other Federal HealthCare Program beneficiaries mentioned in this Exhibit and any other exhibits hereto
are redacted. Unredacted copies will be provided to the United States and the States of Oklahoma, Texas and New
Mexico and filed with the Court under seal pursuant to Rule 5.2(f) of the Federal Rules of Civil Procedure.

53

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 54of76 PagelD 248

185. On May 11, 2017, Callaway for TruBridge agreed to by Artesia General added Dr.
Rhoda Jones physician charges which are being flagged by Edit 10227 so that her Form 1500
charges could and were fraudulently submitted for payment using the Q6 Modifier and billed
using Dr. Abalos’ s credentials, and payment was made. Ultimately, Relator was knowledgeable
of 25 physicians whose Form 1500 charges were submitted fraudulently using the Q6 Modifier
and billed using Dr. Abalos’ s credentials. (See Exhibit “I’).

186. Under her direction, Relator obtained a Physician Reimbursement Analysis Report
(“Phys. Reimb. Report”) on May 17, 2017, which showed, in part, that all Physician charges of
Artesia General from February 1, 2015 through May 17, 2017, including those fraudulently
submitted and paid using the Q6 Modifier, resulted in Total Revenue of $32,247,412.74. (See
Exhibit “J’6)

187. The Phys. Reimb. Report also reflected that the 25 physicians whose physician
charges were fraudulently submitted and paid using the Q6 Modifier to circumvent Edit 10227
resulted in $8.9M Total Revenue fraudulently derived from 14,530 Patient Accounts, which
Relator broke down as follows:

e Report A (208 pages) showed 15 of the Q6 physicians were billed 1500 claims on
12,314 Accounts that generated payment of $7.5M; and

e Report B (43 pages) showed 10 of the Q6 physicians were billed 1500 claims on
2,216 Accounts that generated payment of $1.4M

188. On May 12, 2017, Relator remained concerned regarding the use of the Q6 Modifier
and in particularly, for claim submissions outside of the 60-day period. Given such, Relator

contacted a trusted, even more experienced TruBridge CPB who was a Support Representative,

°The Phys. Reimb. Report in its entirety is 357 pages. Ex. J is the first and last pages of the Report. Contemporaneous
with the filing of this Complaint, Relator has provided to the United States and the States of Oklahoma, Texas and
New Mexico a complete copy of the Report.

54
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page55of76 PagelD 249

Lisa Longdon Sea-say (“Longdon Sea-say”). Longdon Sea-say confirmed Relator’s
understanding — it was “never” authorized or approved by CMS to seek payment for locum tenens
physician charges for any billings 60 days after first date of service by the physician.

189. On May 13, 2017, Relator reported the false claims submissions she was aware of
to TruBridge Management Callaway and Director Chris Massey and sought to obtain assistance
with compliance and cessation of the submissions.

190. On May 15, 2017, Relator emailed both CPSI and TruBridge Chief Officers; David
Dye, Boyd Douglas, Paul Pacey, Chris Fowler and Leatherbury, requesting a compliance officer
to review her findings, which included a timeline of her investigation from February 20, 2017 to
date and included information regarding non-compliance, fraudulent claim submissions and FCA
liability. (See Exhibit “K”)

191. From March 2017 through May 2017, Relator regularly questioned Callaway
regarding claims submitted but not paid; and the use of modifiers to obtain payment, particularly
claims involving physician charges, locum tenens and Artesia General physicians who were “not
linked”. These claims by TruBridge and Artesia General involved millions of dollars in medical
charges to Medicare, Medicaid, Tricare and other Federal HealthCare Programs as well as
Commercial Payors.

192. As of May 11, 2017, Artesia General had received payments from Medicare
totaling $872,901 with monthly collections of $249,759 for 2017. (See attached Ex. “L”)

193. As of May 11, 2017, Artesia General had received payments from New Mexico
Medicaid totaling $654,678 with monthly collections of $197,802 and had a total cash from all

payors of $4,839,947 for 2017. (See attached Ex. “L”)

55
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 56of76 PagelD 250

194. Based on the cited conduct herein, Artesia General and TruBridge did submit false
claims for payment to Medicare, Tricare, Medicaid and other Federal HealthCare Programs by
engaging in the fraudulent conduct as follows:

a) fraudulent use of the NPI of a permanent staff (regular) physicians or a credentialed
physician no longer of staff to bill for services of physicians whose services were
not provided by the identified physician that were or would be rejected by Federal
HealthCare Programs;

b) fraudulent use of permanent staff physicians NPI for billing services of locum tenens
physicians who services were not billed within the 60-day period;

c) fraudulent changing of physical address and/or place of service to obtain payment
of claims that were or would be rejected by Federal HealthCare Programs;

d) submission of false information to circumvent automated claims “edits” designed
by HHS/CMS to prevent improper billing to Federal HealthCare Programs i.e.
fraudulent manipulation of claims using CPT codes and/or fraudulent use of
modifiers;

e) fraudulent use of “same day” modifiers for billing duplicate charges that may or may
not be of medical necessity; and

f) fraudulent “unbundling” of claims billing separately medical procedures and tests to
Federal HealthCare Programs which were required to be “bundled” by HHS/CMS.

VI. CLAIMS FOR RELIEF

COUNT I

False Claims Act — Presentation of False Claims
31 U.S.C. § 3729(a)(1), 31 U.S.C. § 3729(a)(1)(A) as amended in 2009

195. The allegations of the preceding paragraphs are realleged as if fully set forth below.

196. Through the acts described above, Defendants and their agents and employees
knowingly presented and caused to be presented to an officer or employee of the Government
false and/or fraudulent claims for payment or approval in violation of 31 U.S.C. § 3729(a)(1),
and, as amended, 31 U.S.C. § 3729(a)(1)(A).

56
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 57 of76 PagelD 251

COUNT II

False Claims Act — Making or Using False Record or Statement to Cause Claim to Be Paid
31 U.S.C. § 3729(a)(2), 31 U.S.C. § 3729(a)(1)(B) as amended in 2009

197. The allegations of the preceding paragraphs are realleged as if fully set forth below.
198. Through the acts described above and otherwise, in violation of 31 U.S.C. §
3729(a)(2), and, as amended, 31 U.S.C. § 3729(a)(1)(B), Defendants and their agents and
employees knowingly made, used, or caused to be made or used false records or statements to get
false claims paid or approved by the government; and knowingly made, used, and/or caused to be
made or used false records or statements material to false or fraudulent claims paid or approved

by the Government.
COUNT III

False Claims Act — Making or Using False Record or Statement to Conceal, Avoid, and/or
Decrease Obligation to Repay Money

31 U.S.C. § 3729(a)(7), 31 U.S.C. § 3729(a)(1)(G) as amended in 2009
199. The allegations of the preceding paragraphs are realleged as if fully set forth below.
200. Through the acts described above, in violation of 31 U.S.C. § 3729(a)(7) and as
amended, 31 U.S.C. § 3729(a)(1)(G), Defendants and their agents and employees knowingly
made, used, or caused to be made or used, false records or statements material to an obligation to
pay or transmit money or property to the Government that Defendants had improperly received
and/or knowingly concealed or knowingly and improperly avoided or decreased an obligation to
pay or transmit money or property to the Government, e.g. a “reverse false claim.” Defendants
also failed to disclose material facts that would have resulted in substantial repayments to the

Government.

57
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 58 of 76 PagelD 252

COUNT IV

False Claims Act - Conspiracy
31 U.S.C. § 3729(a)(3), 31 U.S.C. § 3729(a)(1)(C) as amended in 2009

201. The allegations of the preceding paragraph are realleged as if fully set forth below.

202. Through the acts described above and otherwise, Defendants entered into a
conspiracy or conspiracies to defraud the Government by submitting or causing to be submitted
false or fraudulent claims for payment or approval and making, using, or causing to be made or
used, false records or statements material to false or fraudulent claims in violation of 31 U.S.C. §
3729(a)(3), and, as amended, 31 U.S.C. § 3729(a)(1)(C).

203. Defendants also conspired to omit disclosing or to actively conceal facts which, if
known, would have reduced Government obligations to it or resulted in repayments from it to
Government programs.

204. Defendants CPSI and TruBridge, their employees worked collaboratively to
accomplish medical billing and revenue management services for Muskogee Regional, Crescent
Medical and Artesia General through frequent site visits and daily remote access to the Hospitals
computer records and databases and the presence of CPSI and TruBridge staff including Relator
on-site in the Hospital’s patient accounts and billing departments.

205. Defendants, their agents, and their employees, have taken substantial steps in
furtherance of those conspiracies, inter alia, by preparing false records, by submitting claims for
reimbursement to the Government for payment or approval, and by directing their agents and
personnel not to disclose and/or to conceal their fraudulent practices.

206. The Government was unaware of Defendants’ conspiracy or the falsity of the
records, statements, and claims made by Defendants, their agents, and employees, and, as a result

thereof, has paid and continues to pay millions of dollars that it would not otherwise have paid.

58

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 59 of 76 PagelD 253

207. Furthermore, because of the false records, statements, claims, and omissions by
Defendants and their agents and employees, the Government has not recovered federal funds from

Defendants that would have otherwise been recovered.
COUNT V

OKLAHOMA MEDICAID FALSE CLAIMS ACT

208. Relator repeats and realleges each allegation contained in all paragraphs of this
Complaint.

209. This is a qui tam action brought by Relator and the State of Oklahoma to recover
treble damages and civil penalties under the Oklahoma Medicaid False Claims Act, 63 Okla. Stat.
Ann. § 5053.1 et seq.

210. 63 Okla. Sta. Ann. § 5053.1(B) provides liability for any person who-

(a) knowingly presents, or causes to be presented, to an officer or employee of
the State of Oklahoma, a false or fraudulent claim for payment or approval;

(b) knowingly makes or uses, or causes to be made or used, a record or
statement to get a false or fraudulent claim paid or approved by the state;

(c) conspires to defraud the State by getting a claim allowed or paid;

(d) knowingly makes, uses, or causes to be made or used a false record or
statement to conceal, avoid, or decrease an obligation to pay or transmit
money or property to the state.

211. Defendants CPSI, TruBridge and Muskogee Regional knowingly violated 63 Okla.
Stat. Ann. § 5053.1(B) and knowingly presented false claims to the State of Oklahoma and/or
caused false claims to be made, used and presented to the State of Oklahoma from 2012 to the
present by violating the CMS Medicare Program Integrity Manual (42 CFR § 200 et seq), and

Medicare Benefit Policy Manual (42 CFR § 400 et seq) resulting in fraudulent payment of claims

by the State of Oklahoma.

59

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 60o0f76 PagelD 254

212. Because of the fraudulent billing of physician and hospital claims, all the claims

_ that CPSI, TruBridge and Muskogee Regional knowingly caused physicians, physicians practices

and hospital charges from Muskogee Regional, submitted to Oklahoma Medicaid programs
and/or other state health care programs are false and/or fraudulent. Further, CPSI, TruBridge and
Muskogee Regional knowingly caused physicians and other practitioners to falsely certify,
expressly and/or impliedly, and represent full compliance with all federal and state laws and
regulations prohibiting fraudulent acts and false reporting. Compliance with federal and state laws
and regulations was a condition of payment.

213. The State of Oklahoma, by and through the Oklahoma Medicaid program and other
state health care programs, paid the false and/or fraudulent claims.

214. Given the structure of the health care systems, the false claims, statements,
representations, material omissions, and/or records made by the Defendants had the potential to
influence the State of Oklahoma’s payment decision.

215. The ultimate submission by the physicians and other practitioners of false and/or
fraudulent claims to the state programs was a foreseeable factor in the State of Oklahoma’s loss,
and a consequence of the scheme.

216. Asa result of the Defendants’ violations of 63 Okla. Stat. Ann. § 5053.1(B), the
State of Oklahoma has been damaged.

217. There are no bars to recovery under 63 Okla. Stat. Ann. § 5053.5, and, or in the
alternative, Relator is an original source as defined therein. Relator is.a private person with direct
and independent knowledge of the allegations of this Complaint, who has brought this action

pursuant to 63 Okla. Stat. Ann. § 5053.2 on behalf of herself and the State of Oklahoma.

60
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 61o0f76 PagelD 255

218. To the extent that any allegations or transactions herein have been publicly
disclosed, Relator has knowledge that is independent of and materially adds to any publicly
disclosed allegations or transactions. Relator has voluntarily provided information, oral and/or
written, and has sent disclosure statement(s) describing all material evidence and information
related to this Complaint, both before and contemporaneously with filing, to the Attorney General
of the State of Oklahoma. Contemporaneously with filing, Relator has provided all material
documents related to this Complaint to the Attorney General of the State of Oklahoma. This
Complaint details Relator’s discovery and investigation of Defendants’ fraudulent schemes and
is supported by documentary evidence.

219. This Court is requested to accept pendent jurisdiction of this related state claim as
it is predicated upon the exact same facts as the federal claim, and merely asserts separate damage
to the State of Oklahoma in the operation of its state programs.

WHEREFORE, Relator respectfully requests this Court to award the following damages

to the following parties and against the Defendants:

To the STATE OF OKLAHOMA:

(1) Three times the amount of actual damages that the State of Oklahoma has
sustained as a result of the fraudulent and illegal practices of the
Defendants;

(2) A civil penalty of not less than $5,000 and not more than $10,000 for each
false claim that the Defendants presented or caused to be presented to the
State of Oklahoma;

(3)  Prejudgment interest; and

(4) All costs incurred in bringing this action.

To RELATOR:

(1) The maximum amount allowed pursuant to 63 Okla. Stat. Ann. § 5053.4,
and/or any other applicable provision of law;

61
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: Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 62 o0f76 PagelD 256
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(2)

(3)
(4)

Reimbursement for reasonable expenses that Relator incurred in connection
with this action;

An award of reasonable attorneys’ fees and costs; and
Such further relief as this Court deems equitable and just.
COUNT VI

TEXAS FALSE CLAIMS ACT

220. Relator repeats and realleges each allegation contained in all paragraphs of this

Complaint.

221. This is a qui tam action brought by Relator and the State of Texas to recover double

damages and civil penalties under Tex. Hum. Res. Code Ann. § 36.001 et seq.

222. Tex. Hum. Res. Code Ann. § 36.002 provides liability for any person who-

(a.)

(b)

(c)

(d)

(e)

knowingly makes or causes to be made a false statement or
misrepresentation of a material fact to permit a person to receive a benefit
or payment under the Medicaid Program that is not authorized or that is
greater than the benefit or payment that is authorized;

knowingly makes, causes to be made, induces, or seeks to induce the
making of a false statement or misrepresentation of material fact concerning
. . . information required to be provided by a federal or state law, rule,
regulation, or provider agreement pertaining to the Medicaid program,

knowingly enters into an agreement, combination, or conspiracy to defraud
the state by obtaining or aiding another person in obtaining an unauthorized
payment or benefit from the Medicaid program or a fiscal agent;

knowingly makes, uses, or causes the making or use of a false record or
statement to conceal, avoid, or decrease an obligation to pay or transmit
money or property to this state under the Medicaid program; or

knowingly engages in conduct that constitutes a violation under Tex. Hum.
Res. Code Ann. § 32.039 (the Texas Anti-Kickback Statute).

223. The Defendants knowingly violated V.T.C.A. Hum. Res. Code § 36.002 and

knowingly presented false claims to the State of Texas and/or caused false claims to be made,

62
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 63 o0f76 PagelD 257

used and presented to the State of Texas from 2015 to the present by CMS Medicare Program
Integrity Manual (42 CFR § 200 et seq), and Medicare Benefit Policy Manual (42 CFR § 400 et
seq) resulting in fraudulent payment of claims by the State of Texas.

224.  Asaresult of the fraudulent billing of physician and hospital claims, all the claims
that CPSI, TruBridge and Crescent Medical knowingly caused physicians, physicians practices
and hospital charges from Crescent Medical, submitted to Texas Medicaid programs and/or other
state health care programs that are false and/or fraudulent. Further, CPSI, TruBridge and Crescent
Medical knowingly caused physicians and other practitioners to falsely certify, expressly and/or
impliedly, and represent full compliance with all federal and state laws and regulations prohibiting
fraudulent acts and false reporting. Compliance with federal and state laws and regulations was a
condition of payment.

225. The State of Texas, by and through the Texas Medicaid program and other state
health care programs, paid the false and/or fraudulent claims.

226. Given the structure of the health care systems, the false claims, statements,
representations, material omissions, and/or records made by the Defendants had the potential to
influence the State of Texas’s payment decision.

227. The ultimate submission by the physicians and other practitioners of false and/or
fraudulent claims to the state programs was a foreseeable factor in the State of Texas’s loss, and
a consequence of the scheme.

228. Asa result of the Defendants’ violations of Tex. Hum. Res. Code Ann. § 36.002,
the State of Texas has been damaged.

229. There are no bars to recovery under Tex. Hum. Res. Code Ann. § 36.113(b), and,

or in the alternative, Relator is an original source as defined therein. Relator is a private person

63
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 64o0f76 PagelD 258

with direct and independent knowledge of the allegations of this Complaint, who has brought this
action pursuant to Tex. Hum. Res. Code Ann. § 36.101 on behalf of herself and the State of Texas.
To the extent that any allegations or transactions herein have been publicly disclosed, Relator has
knowledge that is independent of and materially adds to any publicly disclosed allegations or
transactions.

230. Relator has voluntarily provided information, oral and/or written, and has sent
disclosure statement(s) describing all material evidence and information related to this Complaint,
both before and contemporaneously with filing, to the Attorney General of the State of Texas.
Contemporaneously with filing, Relator has provided all material documents related to this
Complaint to the Attorney General of the State of Texas. This Complaint details Relator’s
discovery and investigation of Defendants’ fraudulent schemes and is supported by documentary
evidence.

231. This Court is requested to accept pendent jurisdiction of this related state claim as
it is predicated upon the exact same facts as the federal claim, and merely asserts separate damage
to the State of Texas in the operation of its state programs.

WHEREFORE, Relator respectfully requests this Court to award the following damages

to the following parties and against the Defendants:

To the STATE OF TEXAS:

(1) Two times the amount of actual damages that the State of Texas has
sustained as a result of the fraudulent and illegal practices of the
Defendants;

(2) A civil penalty of note less than $5,000 as described in Tex. Hum. Res.
Code Ann. § 36.052(a)(3) for each false claim that the Defendants presented

or caused to be presented to the State of Texas;

(3) Prejudgment interest; and

64
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 65of76 PagelD 259

(4) All costs incurred in bringing this action.
To RELATOR:

(1) The maximum amount allowed pursuant to Tex. Hum. Res. Code Ann. §
36.110, and/or any other applicable provision of law;

(2) Reimbursement for reasonable expenses that Relator incurred in connection
with this action;

(3) An award of reasonable attorneys’ fees and costs; and

(4) Such further relief as this Court deems equitable and just.

COUNT VII

NEW MEXICO MEDICAID FALSE CLAIMS ACT

232. Relator repeats and realleges each allegation contained in all paragraphs of this
Complaint.

233. This is a qui tam action brought by Relator and State of New Mexico to recover
treble damages and civil penalties under the New Mexico Medicaid False Claims Act, N.M. Stat.
Ann. § 27-14-1 et seq. and the New Mexico Fraud Against Taxpayers Act, N.M. Stat. Ann. § 44-
9-1 et seq.

234. N.M. Stat. Ann. § 27-14-4 provides liability for any person who-

(1) presents, or causes to be presented, to the state a claim for payment under
the Medicaid program knowing that such claim is false or fraudulent;

(2) presents, or causes to be presented, to the state a claim for payment under
the Medicaid program knowing that the person receiving a Medicaid benefit
or payment is not authorized or is not eligible for a benefit under the
Medicaid program;

(3) makes, uses or causes to be made or used a record or statement to obtain a

false or fraudulent claim under the Medicaid program paid for or approved
by the state knowing such record or statement is false;

65
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 66 of 76 PagelD 260

235.

236.

(4)

(5)

conspires to defraud the state by getting a claim allowed or paid under the
Medicaid program knowing that such claim is false or fraudulent,

knowingly makes, uses, or causes to be made or used a false record or
statement to conceal, avoid, or decrease an obligation to pay or transmit
money or property to the governmental entity or its contractors.

N.M. Stat. Ann. § 44-9-3 provides liability for any person who-

(a)

(b)

(c)

(d)

knowingly presents or causes to be presented to an employee, officer or
agent of the State, or to any contractor, grantee, or other recipient of State
funds, a false or fraudulent claim for payment or approval;

knowingly makes, uses, or causes to be made or used a false record or
statement to get a false or fraudulent claim paid or approved by the State;

conspires to defraud the State by getting a false or fraudulent claim allowed
or paid by the State;

knowingly makes, uses, or causes to be made or used a false record or
statement to conceal, avoid, or decrease an obligation to pay or transmit
money or property to the governmental entity or its contractors.

The Defendants knowingly violated N.M. Stat. Ann. § 27-14-4 and § 44-9-3 and

knowingly presented or caused to be made, used and presented hundreds of thousands of false

claims to the State of New Mexico from 2015 to the present by CMS Medicare Program Integrity

Manual (42 CFR § 200 et seq), and Medicare Benefit Policy Manual (42 CFR § 400 et seq)

resulting in fraudulent payment of claims by the State of Texas.

237. Asaresult of the fraudulent billing of physician and hospital claims, all the claims

that TruBridge and Artesia General knowingly caused physicians, physicians practices and

hospital charges from Artesia General and its affiliated physician practices, submitted to New

Mexico Medicaid programs and/or other state health care programs that are false and/or

fraudulent. Further, TruBridge and Artesia General knowingly caused physicians and other

practitioners to falsely certify, expressly and/or impliedly, and represent full compliance with all

66

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 67 of76 PagelD 261

federal and state laws and regulations prohibiting fraudulent acts and false reporting. Compliance
with federal and state laws and regulations was a condition of payment.

238. The State of New Mexico, by and through the State of New Mexico Medicaid
program and other state health care programs, paid the false and/or fraudulent claims.

239. Given the structure of the health care systems, the false claims, statements,
representations, material omissions, and/or records made by the Defendants had the potential to
influence the State of New Mexico’s payment decision.

240. The ultimate submission by the physicians and pharmacists of false and/or
fraudulent claims to the state programs was a foreseeable factor in the State of New Mexico’s
loss, and a consequence of the scheme.

241. Asaresult of the Defendants’ violations of N.M. Stat. Ann. § 27-14-4 and/or N.M.
Stat. Ann. § 44-9-3 the State of New Mexico has been damaged.

242. There are no bars to recovery under N.M. Stat. Ann. § 27-14-10(C), N.M. Stat.
Ann. § 44-9-9, and, or in the alternative, Relator is an original source as defined therein. Relator
is a private person with direct and independent knowledge of the allegations of this Complaint,
who has brought this action pursuant to N.M. Stat. Ann. § 27-14-7 and N.M. Stat. Ann. § 44-9-3
on behalf of himself and the State of New Mexico. To the extent that any allegations or
transactions herein have been publicly disclosed, Relator has knowledge that is independent of
and materially adds to any publicly disclosed allegations or transactions.

243. Relator has voluntarily provided information, oral and/or written, and has sent
disclosure statement(s) describing all material evidence and information related to this Complaint,
both before and contemporaneously with filing, to the Attorney General of the State of New

Mexico. Contemporaneously with filing, Relator has provided all material documents related to

67

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 68 of 76 PagelD 262

this Complaint to the Attorney General of the State of New Mexico. This Complaint details
Relator’s discovery and investigation of Defendants’ fraudulent schemes and is supported by
documentary evidence.

244. This Court is requested to accept pendent jurisdiction of this related state claim as
it is predicated upon the exact same facts as the federal claim, and merely asserts separate damage
to the State of New Mexico in the operation of its state programs.

WHEREFORE, Relator respectfully requests this Court to award the following damages

to the following parties and against the Defendants:

To the STATE OF NEW MEXICO:

(1) Three times the amount of actual damages that the State of New Mexico has
sustained as a result of the fraudulent and illegal practices of the
Defendants;

(2)  Accivil penalty of not less than $5,000 and not more than $10,000 for each
false claim that the Defendants presented or caused to be presented to the
State of New Mexico;

(3)  Prejudgment interest; and

(4) All costs incurred in bringing this action.

To RELATOR:

(1) The maximum amount allowed pursuant to N.M. Stat. Ann. § 27-14-4, N.M.
Stat. Ann. § 44-9-7 and/or any other applicable provision of law;

(2) Reimbursement for reasonable expenses that Relator incurred in connection
with this action;

(3) An award of reasonable attorneys’ fees and costs; and

(4) Such further relief as this Court deems equitable and just.

68

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 69 of 76 PagelD 263

COUNT VIII
Unlawful Retaliation Under the False Claims Act 31 U.S.C. § 3730(h)

245. The allegations of the preceding paragraphs are realleged as if fully set forth below.

246. During Relator’s employment for TruBridge, she was assigned to work with Artesia
General with TruBridge controlling and directing her work conditions.

247. Relator reported, at numerous times, all of the above violations of law recited in
this Complaint to her superiors at TruBridge and prior to taking a medical leave of absence on
May 15, 2017 due to emotional and physical stress in performing her duties when she knew by
mid- May 2017 that she was involved with TruBridge and Artesia General in the submission of
false and fraudulent claims to Medicare, Medicaid and other Federal HealthCare programs and
also Commercial payors, which resulted in the payment of millions of dollars.

248. In a May 15, 2017 email with an attached memorandum documenting her
investigation and findings, Relator advised of her FCA claims citing the conduct and the statutory

249. and factual basis for her claims of fraudulent conduct by TruBridge and Artesia
General. (See Exhibit “K’’)

250. On May 22, 2017, Relator took leave of absence due to medical and health issues
and remained on medical leave until August 11, 2017.

251. With knowledge of Relator’s investigation regarding her FCA claims, TruBridge
terminated Relator’s employment effective September 18, 2017 via email making her termination
effective that same day. (See Attached Exhibit “M”’’)

PRAYER FOR RELIEF
Relator requests that judgment be entered against the Defendants, ordering that:

1. Defendants cease and desist from violating the False Claims Act, 31 U.S.C. § 3729
et seq.;

69
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 70of 76 PagelD 264

2. Defendants pay not less than $5,500 ($10,781 for claims after 8.31.16) and not more
than $11,000 ($21,563 for claims after 8.31.16) for each violation of 31 U.S.C. §
3729, plus three times the amount of damages the Government has sustained
because of the Defendants’ actions;

3. Relator be awarded the maximum “relator’s share” allowed by 31 U.S.C. § 3730(d);

4. Relator be awarded all costs, including litigation costs, expert fees and attorneys’
fees under 31 U.S.C. §§ 3730(d) and 3730(h) and the MHRA;

5. Relator be provided with declaratory, injunctive, or equitable relief, as may be
appropriate, to prevent further harm to herself and to prevent the harm to others and
the public caused by Defendants’ retaliation against whistleblowers;

6. Defendants be enjoined from concealing, removing, encumbering, or disposing of
assets which may be required to pay the civil monetary penalties imposed by the

Court;

7. Defendants disgorge all sums by which they have been enriched unjustly by their
wrongful conduct;

8. Relator be awarded all other damages to which she is entitled, including
compensatory and punitive damages; and

9. The Government and Relator obtain such other relief as the Court deems just and

proper.

In Count VIII of this Amended Complaint: Relator and Plaintiff demands and prays
judgment for all proper compensatory damages, special damages and punitive damages in favor
of Relator as a result of Defendant TruBridge’s retaliation and retaliatory discharge of Relator in
violation of 31 U.S.C. § 3730(h), including but not limited to the following: doubled back pay,
interest on the back pay, loss of pension, health and other employment benefits; future pay until
age of retirement; compensation for all special damages, including emotional distress, mental
suffering and anguish; humiliation; damage to her reputation; and inconvenience; plus attorneys’
fees and costs;, and such other and further relief as the Court deems just and proper as a result of

Defendant TruBridge’s retaliation and wrongful discharge.

70
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 71of76 PagelD 265

IX. JURY TRIAL DEMAND

252. Under Fed. R. Civ. P. 38(b), Relator demands trial by struck jury of each claim

including the claim personal to her, and all issues to the extent allowed by law.

DATED this 13 September 2018.

OF COUNSEL:

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CHRIST N. COUMANIS (COUMC1593)

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DAVID YORK (YORKD2887)
david(@c-ylaw om
Attorneys for Relator Stephanie M. Kruse

CERTIFICATE OF SERVICE

I do hereby certify that I have on September 13, 2018 filed the foregoing pleading with the
Clerk of the Court UNDER SEAL and have served the following counsel for the United States of
America via certified U.S. Mail as follows:

Chad A. Readler, Esq.

Acting Assistant Attorney General

Michael D. Granston, Esq.
Edward Crooke, Esq.
Diana Cieslak, Esq.

71

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 72 of 76 PagelD 266

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Attorney General

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Attorney General

Emily Luke, Esq.

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Albuquerque, NM 87102

72

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 73 0f 76 PagelD 267

Exhibit

A

ATTACHMENTS

(PREVIOUSLY INCLUDED WITH INITIAL COMPLAINT)

Documents

February 7, 2017 Email from Miller Callaway, TruBridge to Artesia
General and TruBridge Billing Departments, including Relator Kruse

February 21, 2017 - March 1, 2017 Emails from Relator Kruse to/from
Miller Callaway/TruBridge and Valerie Cole, Artesia General

March 7, 2017 Email from Miller Callaway, TruBridge to Artesia General
and TruBridge Billing Departments, including Relator Kruse and Matthew
Rosser, TruBridge

March 8-10, 2017 Emails from Miller Callaway, TruBridge to/from
Shannon Clark, Cyndi Buck, Relator Kruse and Matthew Rosser

March 10, 2017 Email from Miller Callaway, TruBridge to Artesia
General and TruBridge Billing Departments, including Relator
Kruse and Matthew Rosser, TruBridge

March 21-22, 2017 Email from Miller Callaway, TruBridge to Artesia
General and TruBridge Billing Departments, including Relator Kruse and
Matthew Rosser, TruBridge and Janice Chapman, Artesia General

April 24-27, 2017 Emails from Miller Callaway to Jennifer Knapp,
Relator Kruse and Nikki Sherota of TruBridge and Dawn McGuire,
Shannon Clark of Artesia General

Artesia General Medicare Patient Billing Records, 6.22.16 — 4.19.17
TruBridge Locum Billing Basics Screenshot, Artesia General physicians
Artesia General Hospital Physician Reimbursement Analysis report from
dates 2/1/2015 - 5/30/2017 (pp. 1, 340) — Author TruBridge

Relator’s Email Packet to TruBridge/CPSI dated 05.15.2017 re
Compliance Officer Request; Review of Artesia General Billings and
Relator’s findings, OIG Facsimile Cover sheet, Print Outs of CPSI Code
of Business Ethic, CPSI Code of Ethics for CEO and Senior Financial
Officers, and CPSI Audit Committee Charter; and Screen shots of CPSI
website of Audit Committee Members and Directors

Screen Shot, Artesia General BOOS-Cash Flow Analysis,
as of May 11, 2017

September 18, 2017 Email from Kipp Bedford to Relator Kruse re
Termination of her employment by TruBridge

73
Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 74o0f76 PagelD 268

Once the Complaint is UNSEALED, Defendants are to be served via U.S. Certified Mail

and/or FedEx delivery as follows:

Computer Programs and Systems, Inc. (“CPSI”)

J Boyd Douglas - President and Chief Executive Officer
6600 Wall St

Mobile, AL 36695

TruBridge LLC (“TruBridge”)

Chris Fowler, President and Chief Operating Officer
3725 Airport Blvd Ste 208-A

Mobile AL 36608

Saint Francis Hospital Muskogee aka Muskogee Regional Medical Center
(“Muskogee Regional”)

300 Rockefeller Drive

Muskogee, OK 74401

Crescent Medical Center Lancaster (“Crescent Medical”)
2500 West Pleasant Run Road
Lancaster TX 75146

Artesia General Hospital (“Artesia General”)
702 N 13th Street
Artesia, NM 88210

74

Case 3:18-cv-00938-E Document 15 Filed 09/17/18 Page 75of76 PagelD 269

Coumanis & York, B.C.

ATTORNEYS AT LAW

September 13, 2018

Via UPS Delivery

Mr. Colt Fisher

U.S. District Court, Northern District of Texas
Earl Cabell Federal Building

1100 Commerce Street, Room 1452

Dallas, TX 75242

Re: Amended Complaint— 3:CV18-938-K*SEALED*,
United States and States of Oklahoma, Texas and New Mexico ex. rel.,
Stephanie M. Kruse vs. Computer Programs and Systems, Inc.; TruBridge,
LLC; Saint Francis Hospital Muskogee formerly Muskogee Regional Medical
Center; Crescent Medical Center Lancaster and Artesia General Hospital

Dear Mr. Fisher:

Enclosed you will find our Amended Complaint for filing with Court in the above-styled
action, pending under seal. As you have done before, please file stamp one of the
enclosed copies of the Amended Complaint (with the “Service Copy” cover sheet) and
return to me in the enclosed self-addressed, stamped envelope for us to provide Service
copies to the Attorney General of the United States, the U.S. Attorney for your District
and the Attorney Generals for the States of Oklahoma, Texas and New Mexico.

Thank you for your continued assistance and cooperation. I remain,

Sincerely,

CHRIST N.

Enclosures: Amended Complaint (2 copies)

2102 Main Street, P.O. Box 2627, Daphne, Alabama 36526
P 251.990.3083 | P 251.431.7272 | F 251.928.8665
www.c-ylaw.com

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